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                                                      UNITED STATES DISTRICT COURT
              10
                                                  NORTHERN DISTRICT OF CALIFORNIA
              11

              12       Accor Management US Inc.; Accor Hotels        Case No. 19-4188
                       & Resorts (Maryland) LLC; Fairmont Hotel
              13       Management L.P.; Auro Hotels                  COMPLAINT FOR VIOLATIONS OF:
                       Management, LLC; AutoNation, Inc.; BJ’s
              14       Restaurants, Inc.; Bridgestone Americas,      SECTIONS 1 AND 2 OF THE SHERMAN
                       Inc.; Bridgestone Americas Tire Operations,   ANTITRUST ACT; THE CALIFORNIA
              15       LLC; Bridgestone Retail Operations, LLC;      CARTWRIGHT ACT (CAL. BUS. &
                       Caleres, Inc.; CarMax, Inc.; Concord          PROF. CODE §§ 16700 ET SEQ.); AND
              16       Hospitality Enterprises Company, LLC; The     THE CALIFORNIA UNFAIR
                       Container Store, Inc.; Crestline Hotels &     COMPETITION LAW (CAL. BUS. &
              17       Resorts, LLC; DIRECTV, LLC; AT&T              PROF CODE §§ 17200 ET SEQ.)
                       Services, Inc.; AT&T Corp.; AT&T
              18       Mobility LLC; AT&T Mobility II, LLC;          DEMAND FOR JURY TRIAL
                       BellSouth Telecommunications LLC;
              19       Cricket Wireless LLC; DC Comics; E.C.
                       Publications, Inc.; HBO Digital Services,
              20       Inc.; HBO Retail Ventures, Inc.;
                       Telepictures Productions Inc.; Warner
              21       Brothers Advanced Media Services Inc.;
                       Warner Bros. Consumer Products Inc.;
              22       Warner Bros. Digital Networks Labs Inc.;
                       Warner Bros. Entertainment, Inc.; Warner
              23       Bros. Home Entertainment Inc.; WB Games
                       Boston Inc.; WB Studio Enterprises Inc.;
              24       Enterprise Holdings, Inc.; Fitness
                       International, LLC; Flynn Restaurant
              25       Group LP; Gordon Brothers Group, LLC;
                       Heart of America Management, L.L.C.;
              26       Hilton Worldwide Holdings, Inc.; Host
                       Hotels & Resorts, L.P.; HSN, Inc.;
              27       Cornerstone Brands, Inc.; Hyatt Hotels
                       Corporation; Ingram Micro Inc.; Interstate
              28
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                   1   Hotels & Resorts, Inc.; Jack in the Box Inc.;
                       Joshi Hotel Group, LLC; Kaiser Foundation
                   2   Health Plan, Inc.; Kaiser Foundation
                       Hospitals; LEGO Systems, Inc.; LEGO
                   3   Brand Retail, Inc.; Loews Hotels Holding
                       Corporation; Mananto Enterprises LLC;
                   4   Marriott International, Inc.; Marriott
                       Vacations Worldwide Corporation;
                   5   Mountain Standard Group, LLC; National
                       General Holdings Corp.; National General
                   6   Management Corp.; Nespresso USA, Inc.;
                       Nestle Waters North America Inc.; Old
                   7   Comp Inc.; OnStar, LLC; Pacifica Hotel
                       Management, LLC; Public Storage; Qdoba
                   8   Restaurant Corporation; Sage Hospitality
                       Resources LLC; Sage Investment Holdings,
                   9   L.L.C.; Sephora USA, Inc.; Sunstone Hotel
                       Investors, Inc.; United Airlines, Inc.;
              10       UnitedHealth Group Incorporated; and
                       White Lodging Services Corporation,
              11
                                          Plaintiffs,
              12
                              v.
              13
                       Visa Inc.; Visa U.S.A., Inc.; Visa
              14       International Service Association;
                       MasterCard Incorporated; and MasterCard
              15       International Incorporated,
              16                          Defendants.
              17

              18

              19              Plaintiffs Accor Management US Inc.; Accor Hotels & Resorts (Maryland) LLC,

              20       Fairmont Hotel Management L.P. (collectively, “Accor”); Auro Hotels Management, LLC

              21       (“Auro”) AutoNation, Inc. (“AutoNation”); BJ’s Restaurants, Inc. (“BJ’s”); Bridgestone

              22       Americas, Inc., Bridgestone Americas Tire Operations, LLC, Bridgestone Retail Operations, LLC

              23       (collectively, “Bridgestone”); Caleres, Inc. (“Caleres”); CarMax, Inc. (“CarMax”); Concord

              24       Hospitality Enterprises Company, LLC (“Concord”); The Container Store, Inc. (“The Container

              25       Store”); Crestline Hotels & Resorts, LLC (“Crestline”); DIRECTV, LLC, AT&T Services, Inc.,

              26       AT&T Corp., AT&T Mobility LLC, AT&T Mobility II, LLC, BellSouth Telecommunications

              27       LLC, Cricket Wireless LLC, DC Comics, E.C. Publications, Inc., HBO Digital Services, Inc.,

              28       HBO Retail Ventures, Inc., Telepictures Productions Inc., Warner Brothers Advanced Media
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                   1   Services Inc., Warner Bros. Consumer Products Inc., Warner Bros. Digital Networks Labs Inc.,
                   2   Warner Bros. Entertainment, Inc., Warner Bros. Home Entertainment Inc., WB Games Boston
                   3   Inc., WB Studio Enterprises Inc., (collectively, “AT&T”); Enterprise Holdings, Inc.
                   4   (“Enterprise”); Fitness International, LLC (“LA Fitness”); Flynn Restaurant Group LP (“Flynn”);
                   5   Gordon Brothers Group, LLC (“Gordon Brothers”); Heart of America Management, L.L.C.
                   6   (“Heart of America”); Hilton Worldwide Holdings, Inc. (“Hilton”); HSN, Inc. and Cornerstone
                   7   Brands, Inc. (“HSN”); Host Hotels & Resorts, L.P. (“Host Hotels”); Hyatt Hotels Corporation
                   8   (“Hyatt”); Ingram Micro Inc. (“Ingram Micro”); Interstate Hotels & Resorts, Inc. (“Interstate”);
                   9   Jack in the Box Inc. (“Jack in the Box”); Joshi Hotel Group, LLC (“JHG”); Kaiser Foundation
              10       Health Plan, Inc. and Kaiser Foundation Hospitals (collectively, “KFHP/H”); LEGO Systems,
              11       Inc. and LEGO Brand Retail, Inc. (collectively, “LEGO”); Loews Hotels Holding Corporation
              12       (“Loews”); Mananto Enterprises LLC (“Mananto Enterprises”); Marriott International, Inc.
              13       (“Marriott”); Marriott Vacations Worldwide Corporation (“Marriott Vacations Worldwide”);
              14       Mountain Standard Group, LLC (“Yarrow”); National General Holdings Corp and National
              15       General Management Corp. (“National General Insurance”); Nespresso USA, Inc. (“Nespresso”);
              16       Nestle Waters North America Inc. (“Nestle Waters”); Old Comp Inc. (“CompUSA”); OnStar,
              17       LLC (“OnStar”); Pacifica Hotel Management, LLC (“Pacifica”); Public Storage; Qdoba
              18       Restaurant Corporation (“Qdoba”); Sage Hospitality Resources LLC and Sage Investment
              19       Holdings, L.L.C. (“Sage”); Sephora USA, Inc. (“Sephora”); Sunstone Hotel Investors, Inc.
              20       (“Sunstone”); United Airlines, Inc. (“United”); UnitedHealth Group Incorporated
              21       (“UnitedHealth”); and White Lodging Services Corporation (“White Lodging”) (altogether,
              22       “Plaintiffs”) for their Complaint against Defendants Visa, Inc.; Visa U.S.A., Inc.; Visa
              23       International Service Association (collectively, “Visa”); MasterCard Incorporated; and
              24       MasterCard International Incorporated (collectively, “MasterCard”) allege as follows:
              25                                              INTRODUCTION
              26       The Price-Fixing Conspiracies
              27              1.      Visa and MasterCard, the two preeminent global payment card networks, have
              28       each entered into per se unlawful horizontal combinations and conspiracies with their respective
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                   1   affiliate banks to fix the price of fees paid to the banks by Plaintiffs and other merchants and to
                   2   prevent competition for credit and debit card network services. Each Defendant has participated
                   3   in these combinations and agreements that violate Section 1 of the Sherman Act, 15 U.S.C. § 1.
                   4   Each combination is comprised of the overwhelming majority of banks or financial institutions
                   5   that are competitors in the issuance of credit and debit cards in the United States. The majority of
                   6   the banks and financial institutions that are affiliates of Visa are also affiliates of MasterCard and
                   7   the majority of MasterCard affiliate banks are also affiliates of Visa. Most of these institutions
                   8   issue both Visa-branded and MasterCard-branded credit and debit cards. These issuing banks and
                   9   financial institutions are independently owned and managed and issue credit and debit cards to
              10       consumers, but have uniformly agreed and adhered to identical competitive restraints that have
              11       eliminated a wide-range of competition. In the absence of the competitive restraints, they would
              12       compete for their cards’ acceptance by merchants in a variety of ways, for example, by offering
              13       lower interchange fee rates and other financial incentives, as well as better and more innovative
              14       services. However, Visa and its affiliate banks have agreed not to compete with each other for
              15       merchant acceptance of the credit and debit cards that those affiliate banks issue, and MasterCard
              16       and its affiliate banks have agreed not to compete with each other for merchant acceptance of the
              17       credit and debit cards that those affiliate banks issue, as enshrined in Visa and MasterCard’s
              18       respective rules. The Defendants’ rules eliminate all competition in the marketplace and thus
              19       protect the supracompetitive interchange fees they set.
              20              2.      Visa and MasterCard, unlike American Express, operate as “open-loop” systems.
              21       Each Defendant is only one of multiple parties involved in the processing of each payment card
              22       transaction. Issuing banks issue payment cards to cardholders and provide those cardholders with
              23       credit. Acquiring banks are responsible for signing merchants up to accept Visa and MasterCard-
              24       branded payment cards. When a cardholder makes a purchase with a payment card, transaction
              25       information flows from the merchant, through the acquiring bank, over the Visa or MasterCard
              26       network, to the cardholder’s issuing bank. The issuing bank then transfers the transaction
              27       amount—after deducting its fee—from the cardholder’s account, over the network, to the
              28       acquiring bank, which pays the merchant the net amount of the transactions after subtracting any
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                   1   remaining fees. In an “open-loop” system, the issuing banks, networks, and acquiring banks are
                   2   separate entities, in contrast to “closed-loop” systems such as American Express, where one
                   3   company plays all three roles in a vertically integrated system. Despite being separate
                   4   competitive entities, however, the issuing and acquiring banks in the “open-loop” system at issue
                   5   here are also Visa and MasterCard “affiliate banks” that can serve as either the issuing or
                   6   acquiring bank, and are typically either the issuing or acquiring bank in any given transaction. In
                   7   addition to acting as network service providers facilitating transactions, Visa and MasterCard
                   8   serve as mechanisms for fixing prices and otherwise limiting competition for the affiliate banks.
                   9          3.      Defendants set prices for and regulate two general types of payment cards: credit
              10       cards and debit cards. Credit cardholders may generally either pay their balance by the end of
              11       each billing period, or pay only part of the balance and pay interest to the issuing bank on the
              12       remaining amount. Debit cards are linked to a cardholder’s demand account, allowing the
              13       cardholder to withdraw money directly from the account to complete a transaction with a
              14       merchant.
              15              4.      Issuing banks earn income on credit cards from interchange fees assessed to
              16       merchants and on interest paid on cardholders’ account balances. They also earn income on fees
              17       and charges to the cardholder, including annual fees, and fees and penalties for late payment on
              18       card balances. Banks benefit from debit cards from the use of funds deposited in cardholders’
              19       accounts to cover debit card purchases, the reduced cost of processing transactions compared to
              20       processing cash and checks, and various fees associated with cardholders’ accounts.
              21              5.      Issuing banks extract a significant amount of fees on credit and debit card use
              22       through fees charged to merchants. The most substantial portion of these fees by far is the
              23       interchange fee. Visa and its affiliate banks, and MasterCard and its affiliate banks, have agreed
              24       upon a uniform schedule of interchange fees for all affiliate banks. The two networks’
              25       interchange fee schedules are purposefully and knowingly set to increase in sync. The
              26       Defendants’ rules ensure that no affiliate will attempt to compete with others by undercutting the
              27       interchange fee rates agreed upon, and Visa and MasterCard both actively ensure that each time a
              28       merchant accepts a customer’s Visa or MasterCard-branded card as a means of payment, the
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                   1   agreed-upon interchange fee is charged. That is so regardless of the identity of the issuing bank.
                   2   An interchange fee for each credit or debit card transaction is paid by the merchant to the card’s
                   3   issuing bank and to the card network. The issuing banks make greater revenue as the size and
                   4   frequency of debit or credit card transactions increases.
                   5   Operation of the Competitive Restraints
                   6          6.      Visa and MasterCard have adopted nearly identical rules or “Competitive
                   7   Restraints” that were designed and agreed to by Visa and its affiliate banks, and MasterCard and
                   8   its affiliate banks, as a means to eliminate competition for merchant use of network services and
                   9   protect supracompetitive interchange and other fees. The Competitive Restraints are enforced by
              10       the Defendants.
              11              7.      The principal rules that constitute the Competitive Restraints include: the setting of
              12       “default” interchange fees, the Honor All Cards Rules, the All Outlets Rules, the No Discount and
              13       Anti-Steering Rules, and the No Surcharge Rules.
              14              8.      The Competitive Restraints imposed by Visa and MasterCard, and agreed upon by
              15       the affiliate banks, protect their card issuing affiliates from having to compete for merchant
              16       acceptance of their cards. In doing so, the Competitive Restraints deprive merchants and
              17       consumers of the benefits—in terms of lower fees, more favorable terms, innovation, and
              18       differentiated services—that they would realize if there was competition among issuing banks for
              19       merchants’ acceptance of those banks’ credit and debit cards. For instance, Visa and MasterCard
              20       have for many years forced issuers to use and merchants to accept outdated magnetic strip
              21       technology in place of available and superior technology that would better protect merchants and
              22       cardholders against fraud. Defendants have recently forced a mass migration to “EMV chip”
              23       technology (“EMV” is named for the three companies which created it, Europay, MasterCard,
              24       and Visa) by a certain deadline that effectively shifts liability for fraud onto the merchants, but
              25       have imposed their own proprietary technology and a less secure chip-and-signature system in
              26       place of readily available chip-and-PIN technology that would dramatically reduce fraud. In the
              27       scramble and disarray that ensued to meet this deadline, Visa and MasterCard ensured that their
              28       own proprietary EMV, which does not require the use of PIN authentication, became the new
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                   1   industry standard. The only reason they have done so is to protect their market power and
                   2   supracompetitive profits.
                   3   Elimination of Competition, Resulting in Supracompetitive Prices
                   4          9.      Because nearly all issuing banks in the United States are affiliates of Visa and
                   5   MasterCard, and because those banks, through Visa and MasterCard, have agreed not to compete
                   6   for merchant use of their services, Visa, MasterCard, and their affiliates enjoy market power in
                   7   the markets for General Purpose Credit Card Network Services and General Purpose Debit Card
                   8   Network Services in the United States. Defendants’ market power allows them to fix interchange
                   9   fees at supracompetitive levels and to continually raise those fees without merchants responding
              10       by refusing to accept Visa or MasterCard-branded cards or by switching to other payment cards.
              11              10.     But for the Competitive Restraints, issuing banks would be free to compete with
              12       one another and negotiate bilateral agreements with merchants, seeking to undercut their
              13       competitors’ interchange fees or to offer additional value to merchants. Visa and MasterCard
              14       claim that such bilateral negotiations and agreements are possible, referring to their fixed
              15       schedules as “default” interchange fees that they claim can be modified. However, the
              16       Competitive Restraints prevent such negotiations from ever happening. The Honor All Cards
              17       Rules, for instance, require merchants that accept one Visa or MasterCard-branded card to accept
              18       all such cards, eliminating any incentive the merchant might have to negotiate a separate deal
              19       with any one issuer. The No Discount and Anti-Steering Rules, No Surcharge Rules, and other
              20       rules prevent merchants from informing customers of the actual costs of each payment card and
              21       encouraging customers to use less expensive cards. Beyond eliminating any reason to compete
              22       for merchant acceptance by offering lower interchange fees, Visa and MasterCard actually
              23       monitor every transaction and ensure that the “default” interchange fee is charged, threatening
              24       affiliate banks with fines and even expulsion if it is not charged.
              25              11.     As a consequence of the practices described above, Plaintiffs have paid and
              26       continue to pay significantly higher interchange and other fees to accept Visa-branded and
              27       MasterCard-branded credit and debit cards than they would pay if the banks issuing those cards
              28
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                   1   competed with one another for Plaintiffs’ use of their network services, as they would have the
                   2   incentive to do absent the Competitive Restraints.
                   3   Previous Attempts to Stop Defendants’ Anticompetitive Conduct and Effects
                   4          12.     This is not the first time a merchant has resisted Visa and MasterCard’s illegal
                   5   agreements in court. In 2003, the Second Circuit declared the exclusivity rules of both
                   6   combinations, which prohibited affiliate banks from issuing competing cards on American
                   7   Express or Discover networks, unlawful. In that same year, in a class action settlement, Visa and
                   8   MasterCard agreed to cease using the Honor All Cards Rules to tie debit card acceptance to credit
                   9   card acceptance. Those actions did not diminish Visa and MasterCard’s power to set prices and
              10       prevent competition. Immediately after those actions, both combinations increased the credit card
              11       interchange fees their affiliates charged to merchants. The Federal Reserve Board subsequently
              12       found that the debit card interchange fees imposed after these judicial actions were significantly
              13       above cost.
              14              13.     In response to a U.S. Department of Justice investigation in 2008, Visa withdrew
              15       its rule limiting merchants’ ability to accept PIN debit cards. Two years later, in a settlement with
              16       the Department of Justice, Visa and MasterCard both amended their rules to allow merchants to
              17       offer discounts to consumers in broader circumstances than previously allowed. However, these
              18       changes did not diminish the combinations’ market power or lead to a reduction in interchange
              19       fees paid by merchants. Instead, interchange fees continued to increase.
              20              14.     In 2011, the Durbin Amendment to the Dodd-Frank Wall Street Reform and
              21       Consumer Protection Act, 15 U.S.C. 1693o-2, mandated that the Federal Reserve Board set a
              22       maximum level of interchange fees that large banks could levy on some debit card transactions.
              23       The Durbin Amendment also eliminated any distinction in interchange fees between signature
              24       debit transactions (which carried interchange rates comparable to credit interchange rates) and
              25       PIN debit transactions. The maximum fee was set significantly below the then-existing
              26       interchange fee levels set by Visa and MasterCard for debit card transactions, and there was no
              27       prohibition on setting debit or credit interchange fees below this maximum fee level. However,
              28
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                   1   the Federal Reserve Board limits did not apply to approximately one-third of debit cards, such as
                   2   those issued by smaller, non-regulated banks. Neither did it apply to credit cards.
                   3   Defendants’ Anticompetitive Conduct and Effects Continue
                   4          15.     Defendants’ Competitive Restraints and fixed “default” interchange fee schedules
                   5   have no procompetitive purpose and serve only to enrich Visa, MasterCard, and their affiliates in
                   6   a way that would not be possible were the markets for credit and debit card acceptance
                   7   competitive. In fact, during a May 2013 earnings call, Visa CEO Charles W. Scharf admitted:
                   8   “[T]he reality is I think if you go around and talk to most issuers, they would probably say that
                   9   there wasn’t a lot of conversation that went on between issuing and acquiring side, partially
              10       because our rules that stood in the way of [issuing banks] working together to do something
              11       positive for the merchant.”
              12              16.     Moreover, Visa and its affiliates use their monopoly power in the General Purpose
              13       Debit Card Network Services market to suppress competition and thereby support their charging
              14       of supracompetitive debit card interchange fees, which, likewise, harm merchants and cardholders
              15       while greatly enriching themselves.
              16              17.     Plaintiffs pay hundreds of millions of dollars in credit and debit interchange fees
              17       each year to Visa, MasterCard, and their affiliate banks. Indeed, interchange fees are one of
              18       Plaintiffs’ largest operating expenses. Elimination of Defendants’ price fixing scheme and
              19       Competitive Restraints and the restoration of competitive markets for merchant use of payment
              20       card network services would substantially reduce interchange fees, allowing Plaintiffs to operate
              21       more efficiently and at lower cost. Reduction in Plaintiffs’ costs would also benefit Plaintiffs’
              22       customers, including but not limited to Visa and MasterCard cardholders.
              23                                       JURISDICTION AND VENUE
              24              18.     The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 (federal
              25       question) and 28 U.S.C. § 1337 (commerce and antitrust regulation), because this action arises
              26       under Sections 1 and 2 of the Sherman Act (15 U.S.C. §§ 1 and 2). This complaint is filed under
              27       Section 4 of the Clayton Act (15 U.S.C. § 1) and Section 16 of the Clayton Act (15 U.S.C. § 26),
              28       and prays for treble damages, costs, including attorneys’ fees, and an injunction to prevent and/or
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                   1   restrain violations of Sections 1 and 2 of the Sherman Act. The use of credit cards and debit
                   2   cards issued by affiliate banks of Visa and MasterCard and the rules governing the use of such
                   3   cards occur in and have a substantial anticompetitive effect on interstate commerce.
                   4           19.     The Court has supplemental jurisdiction over the state law claims alleged herein
                   5   under 28 U.S.C. § 1367.
                   6           20.     Venue is proper in the United States District Court for the Northern District of
                   7   California under 28 U.S.C. § 1391 and 15 U.S.C. §§ 15 and 22. Defendants reside in, are found
                   8   in, have agents in, and/or transact business in this District as provided in 28 U.S.C. § 1391(b) and
                   9   (c) and in Sections 4 and 12 of the Clayton Act (15 U.S.C. §§ 15 and 22).
              10               21.     This Court has personal jurisdiction over Defendants because, inter alia, they: (a)
              11       transacted business throughout the United States, including in this District, (b) had substantial
              12       contacts with the United States, including in this District, and/or (c) were engaged in an illegal
              13       anticompetitive scheme that was directed at and had the intended effect of causing injury to
              14       persons residing in, located in, or doing business throughout the United States, including in this
              15       District. Thousands of merchants located in this District accept Visa and/or MasterCard credit
              16       cards and debit cards issued by one or more affiliate banks. A substantial part of interstate trade
              17       and commerce is involved and affected by the alleged violations of the antitrust laws, including
              18       within this District. Accordingly, the illegal acts alleged here have had and will have substantial
              19       anticompetitive effects in this District.
              20                                                   DEFINITIONS
              21               22.     For the purposes of this Complaint, the following definitions apply.
              22               23.     “General Purpose Credit Cards” are payment cards that enable the cardholder to
              23       purchase goods or services from any merchant that has an agreement to accept such cards. The
              24       credit cards at issue here are general purpose payment cards, as distinguished from private label
              25       cards, which can only be used at a single merchant. When a cardholder makes a purchase with a
              26       credit card over the Visa or MasterCard network, the card’s issuing bank first deducts the
              27       purchase amount from the cardholder’s account, deducts the interchange fee from that purchase
              28       amount, and then transmits the remaining amount to the acquiring bank. The acquiring bank then
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                   1   transmits that amount, less other fees (collectively known, with the interchange fee, as the
                   2   “merchant discount”) to the merchant. Credit cards enable a cardholder to obtain goods or
                   3   services from a merchant on credit provided by the card issuer. Cardholders may generally either
                   4   pay their balance by the end of each billing period, or pay only part of the balance and pay
                   5   interest to the issuing bank on the remaining amount. Credit card issuers provide cardholders
                   6   different terms and types of cards, which vary in the type and amount of rewards they provide
                   7   cardholders. Cards with a higher level of rewards are often referred to as “premium” cards and
                   8   carry higher interchange fees. Such cards afford no additional benefits to merchants that have to
                   9   pass along these additional costs to all of their customers and impose hidden fees on cardholders
              10       who may not realize that the higher costs to merchants are passed on to them in the costs of goods
              11       and services. General Purpose Credit Cards also include charge cards, which work in much the
              12       same manner as credit cards, but require the cardholder to pay his or her full balance at the end of
              13       each billing period.
              14              24.     “General Purpose Credit Card Network Services” means the services and
              15       infrastructure that a network and its affiliates provide to merchants through which payment
              16       transactions using General Purpose Credit Cards are conducted, including authorization,
              17       clearance, and settlement.
              18              25.     “General Purpose Debit Cards” are payment cards that allow account holders to
              19       pay for goods or services from any merchant that has an agreement to accept such cards, or to
              20       obtain cash by directly accessing their accounts. Pre-paid cards are a type of General Purpose
              21       Debit Card. There are two methods of authenticating debit cards. PIN debit card transactions
              22       require the cardholder to enter a four-digit personal identification number (PIN) to authenticate
              23       the cardholder and are transacted over PIN debit networks, including those owned by Defendants
              24       (e.g., Interlink and Maestro) and independent networks (e.g., NYCE and Star). Signature or
              25       offline debit card transactions usually require the cardholder’s signature at the time of the
              26       transaction and are transacted over Visa and MasterCard’s networks alone. For many years, PIN
              27       debit transactions had no interchange fees or were subject to reverse interchange, where the
              28       merchant received a fee for card acceptance. Debit cards were and are valuable enough to the
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                   1   banks that it made sense to pay merchants to accept them. Signature debit cards carried much
                   2   higher interchange fees, some of which equaled the interchange fees charged for credit card
                   3   transactions.
                   4          26.      Visa and MasterCard used their market power to drive transactions away from PIN
                   5   debit to signature debit and to institute and raise interchange fees on PIN debit. In 2011, pursuant
                   6   to the Durbin Amendment to the Dodd-Frank Act, the Federal Reserve Board investigated the
                   7   reasonableness of debit card fees and set the maximum interchange fee for regulated issuers’
                   8   cards (both PIN and signature) at $0.21 plus 0.05% of the transaction amount (plus an additional
                   9   $0.01 for fraud prevention for eligible issuers), or an average of $0.23‒0.24 per debit transaction.
              10       In contrast, the signature debit interchange fees previously set by Visa and MasterCard averaged
              11       $0.58 and $0.59 per transaction, respectively, for the same issuers.
              12              27.      “General Purpose Debit Card Network Services” means the services and
              13       infrastructure that a network and its affiliates provide to merchants through which payment
              14       transactions using General Purpose Debit Cards are conducted, including authorization, clearance,
              15       and settlement.
              16              28.      An “issuing bank” is a Visa or MasterCard affiliate bank that issues general
              17       purpose credit or debit cards to cardholders. The majority of issuing banks are affiliates of both
              18       Visa and MasterCard. Issuing banks issue cards to cardholders and encourage the use of their
              19       cards by cardholders. Because of the Competitive Restraints, they do not compete with one
              20       another for merchant acceptance of their cards.
              21              29.      An “acquiring bank” is an affiliate of Visa or MasterCard that acquires purchase
              22       transactions from merchants. All acquiring banks are affiliates of Visa and MasterCard. As
              23       affiliate banks, acquiring banks act as gatekeepers, ensuring that card transactions are routed over
              24       the Visa or MasterCard networks, that interchange fees set by Visa and MasterCard are paid by
              25       merchants on all transactions, and that merchants abide by the rules imposed by Visa and
              26       MasterCard.
              27              30.      An “interchange fee” is the fee that merchants pay to issuing banks and the card
              28       networks each time they accept a customer’s credit or debit card issued by a Visa or MasterCard
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                   1   affiliate bank. Under the agreements by and among Visa, MasterCard, and their affiliate banks,
                   2   the so-called “default” interchange fees are set by Visa and MasterCard and imposed uniformly
                   3   on merchants that accept Defendants’ cards.
                   4             31.   “Merchant discount” is the term used to describe the total amount of fees and other
                   5   costs deducted from the original transaction amount by Visa, MasterCard, and their affiliate
                   6   banks, which make up a merchant’s incremental cost of acceptance. The merchant discount
                   7   includes the interchange fees merchants must pay to the issuing banks and card networks.
                   8                                            THE PARTIES
                   9   Plaintiffs
              10                 32.   Plaintiff Accor Management US Inc. is a Delaware corporation with its principal
              11       place of business in Maryland. Plaintiff Accor Hotels & Resorts (Maryland) LLC is a Maryland
              12       limited liability company with its principal place of business in Maryland. Plaintiff Fairmont
              13       Hotel Management L.P. is a Delaware limited partnership with its principal place of business in
              14       New York, New York. Accor is one of the world’s largest hotel groups, consisting of 33 brands
              15       in over one hundred countries, including in the United States. Accor’s brands include Fairmont,
              16       Swissotel, Sofitel, Pullman, Ibis, and Novotel. Accor brings this lawsuit on behalf of all Accor-
              17       branded hotels, including all hotels that it owned, managed, and franchised at any time during the
              18       relevant time period, except as described below. Such properties are set forth, to the best of
              19       Accor’s current knowledge, on Exhibit A1, but may be amended upon discovery of further
              20       information. Any exclusions from the present complaint are listed on Exhibit A2, which also
              21       contains information to the best of Accor’s current knowledge, but may be amended upon
              22       discovery of further information. Accor accepts both Visa and MasterCard debit and credit cards
              23       for payment. Accordingly, Accor has been forced to pay Defendants’ supracompetitive
              24       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              25       other unlawful conduct throughout the damages period and will continue to be subjected to such
              26       harm until Defendants’ anticompetitive conduct is stopped. Accor has therefore been injured, and
              27       continues to be injured, in its business and property as a result of the unlawful conduct alleged
              28       herein.
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                   1          33.     Plaintiff Auro Hotels Management, LLC is a South Carolina limited liability
                   2   company headquartered in Greenville, South Carolina. Auro is one of the largest privately owned
                   3   hospitality companies in the country. Its portfolio includes 30 hotels in the United States. Auro
                   4   manages Hilton, Hyatt, and Marriott-branded hotels, among others. Auro brings this lawsuit on
                   5   behalf of the properties listed on Exhibit B. This exhibit contains information to the best of
                   6   Auro’s current knowledge, but may be amended upon discovery of further information. Auro
                   7   accepts both Visa and MasterCard debit and credit cards for payment. Accordingly, Auro has
                   8   been forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
                   9   Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
              10       period and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
              11       is stopped. Auro has therefore been injured, and continues to be injured, in its business and
              12       property as a result of the unlawful conduct alleged herein.
              13              34.     Plaintiff AutoNation, Inc. is a Delaware corporation with its principal place of
              14       business in Fort Lauderdale, Florida. AutoNation is the largest automotive retailer in the United
              15       States. It owns approximately 325 total vehicle dealerships, collision centers, and vehicle
              16       auctions across 16 states. AutoNation brings this action on behalf of itself and any and all of its
              17       subsidiaries. AutoNation accepts both Visa and MasterCard debit and credit cards for payment at
              18       its locations. Accordingly, AutoNation has been forced to pay Defendants’ supracompetitive
              19       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              20       other unlawful conduct throughout the damages period and will continue to be subjected to such
              21       harm until Defendants’ anticompetitive conduct is stopped. AutoNation has therefore been
              22       injured, and continues to be injured, in its business and property as a result of the unlawful
              23       conduct alleged herein.
              24              35.     Plaintiff BJ’s Restaurants, Inc. is a California corporation with its principal place
              25       of business in Huntington Beach, California. BJ’s owns and operates over 200 casual restaurants
              26       across 27 states—several that include in-house brewing facilities for BJ’s award-winning beer.
              27       Bottles and cans of BJ’s beer are available to purchase at select BJ’s locations. BJ’s accepts both
              28       Visa and MasterCard debit and credit cards for payment at its restaurants. Accordingly, BJ’s has
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                   1   been forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
                   2   Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
                   3   period and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
                   4   is stopped. BJ’s has therefore been injured, and continues to be injured, in its business and
                   5   property as a result of the unlawful conduct alleged herein.
                   6          36.     Plaintiff Bridgestone Americas, Inc. is a Nevada corporation with its principal
                   7   place of business in Nashville, Tennessee. Plaintiff Bridgestone Americas Tire Operations, LLC
                   8   is a Delaware limited liability company with its principal place of business in Nashville,
                   9   Tennessee. Plaintiff Bridgestone Retail Operations, LLC is a Delaware limited liability company
              10       with its principal place of business in Nashville, Tennessee. The Bridgestone group is the world’s
              11       largest manufacturer of tire and rubber products. Bridgestone provides tires and tire tubes for
              12       passenger cars, trucks, buses, motorcycles, construction and mining vehicles, industrial
              13       machinery, agricultural machinery, and aircraft. Bridgestone’s tire operations extend across a
              14       wide range of fields, from raw material production, retreading materials and services, and
              15       automotive maintenance and repair services. Bridgestone also makes and sells a range of rubber
              16       and other products such as actuators and isolators, assembly machine bladders and sleeves, fiber,
              17       textiles, and rubber lining. The Bridgestone family of enterprises includes more than 50
              18       production facilities and 55,000 employees throughout the Americas. Bridgestone accepts both
              19       Visa and MasterCard debit and credit cards for payment. Accordingly, Bridgestone has been
              20       forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
              21       Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
              22       period and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
              23       is stopped. Bridgestone has therefore been injured, and continues to be injured, in its business
              24       and property as a result of the unlawful conduct alleged herein.
              25              37.     Plaintiff Caleres, Inc. is a New York corporation with its principal place of
              26       business in St. Louis, Missouri. Caleres is a diverse portfolio of global footwear brands,
              27       including Famous Footwear, Sam Edelman, Naturalizer, Allen Edmonds, Vionic, and Dr. Scholl’s
              28       Shoes. Caleres operates over 1,200 retail locations for its footwear brands throughout the world,
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                   1   and also branded websites where shoes can be purchased. Caleres accepts both Visa and
                   2   MasterCard debit and credit cards for payment. Accordingly, Caleres has been forced to pay
                   3   Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
                   4   unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
                   5   will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
                   6   Caleres has therefore been injured, and continues to be injured, in its business and property as a
                   7   result of the unlawful conduct alleged herein.
                   8          38.     Plaintiff CarMax, Inc. is a Virginia corporation with its principal place of business
                   9   in Richmond, Virginia. CarMax is the nation’s largest retailer of used cars, selling over 740,000
              10       used vehicles at retail during the latest fiscal year and operating over 200 used car stores in over
              11       100 U.S. television markets. CarMax is also one of the nation’s largest operators of wholesale
              12       vehicle auctions and is a provider of used vehicle financing. CarMax accepts both Visa and
              13       MasterCard debit and credit cards for payment. Accordingly, CarMax has been forced to pay
              14       Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
              15       unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
              16       will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              17       CarMax has therefore been injured, and continues to be injured, in its business and property as a
              18       result of the unlawful conduct alleged herein.
              19              39.     Plaintiff Concord Hospitality Enterprises Company, LLC is a Delaware limited
              20       liability company with its principal place of business in Raleigh, North Carolina. Concord
              21       develops and manages hotels across the United States and Canada. Its portfolio includes over 100
              22       hotels of a variety of brands including Marriott, Hilton, and Hyatt, among others. Concord brings
              23       this lawsuit on behalf of Concord-managed hotels as set forth in Exhibit C that are not otherwise
              24       represented by the hotel brands. This exhibit contains information to the best of Concord’s
              25       current knowledge, but may be amended upon discovery of further information. Concord accepts
              26       both Visa and MasterCard debit and credit cards for payment at the hotels that it manages.
              27       Accordingly, Concord has been forced to pay Defendants’ supracompetitive interchange fees and
              28       has suffered the effects of Defendants’ unlawful Competitive Restraints and other unlawful
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                   1   conduct throughout the damages period and will continue to be subjected to such harm until
                   2   Defendants’ anticompetitive conduct is stopped. Concord has therefore been injured, and
                   3   continues to be injured, in its business and property as a result of the unlawful conduct alleged
                   4   herein.
                   5             40.   Plaintiff The Container Store, Inc. is a Texas corporation with its principal place of
                   6   business in Coppell, Texas. The Container Store is the original and leading specialty retailer of
                   7   storage and organization products and solutions in the United States. It operates over 90 retail
                   8   stores in 33 states and the District of Columbia, and a fully-integrated retail website. The
                   9   Container Store accepts both Visa and MasterCard debit and credit cards for payment.
              10       Accordingly, The Container Store has been forced to pay Defendants’ supracompetitive
              11       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              12       other unlawful conduct throughout the damages period and will continue to be subjected to such
              13       harm until Defendants’ anticompetitive conduct is stopped. The Container Store has therefore
              14       been injured, and continues to be injured, in its business and property as a result of the unlawful
              15       conduct alleged herein.
              16                 41.   Plaintiff Crestline Hotels & Resorts, LLC is a Delaware limited liability company
              17       with its principal place of business in Fairfax, Virginia. Crestline is one of the nation’s largest
              18       independent hospitality and hotel management companies. Its portfolio includes approximately
              19       118 hotels in 27 states and the District of Columbia. It manages Hilton, Hyatt, and Marriott-
              20       branded hotels, among others. Crestline brings this lawsuit on behalf of the properties listed on
              21       Exhibit D. This exhibit contains information to the best of Crestline’s current knowledge, but
              22       may be amended upon discovery of further information. Crestline accepts both Visa and
              23       MasterCard debit and credit cards for payment at the hotels that it manages. Accordingly,
              24       Crestline has been forced to pay Defendants’ supracompetitive interchange fees and has suffered
              25       the effects of Defendants’ unlawful Competitive Restraints and other unlawful conduct
              26       throughout the damages period and will continue to be subjected to such harm until Defendants’
              27       anticompetitive conduct is stopped. Crestline has therefore been injured, and continues to be
              28       injured, in its business and property as a result of the unlawful conduct alleged herein.
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                   1          42.     Plaintiff DIRECTV, LLC is a California limited liability company with its
                   2   principal place of business in El Segundo, California. Plaintiff AT&T Services, Inc. is a
                   3   Delaware corporation with its principal place of business in Dallas, Texas. Plaintiff AT&T Corp.
                   4   is a New York corporation with its principal place of business in Bedminster, New Jersey.
                   5   Plaintiff AT&T Mobility LLC is a Delaware limited liability company with its principal place of
                   6   business in Atlanta, Georgia. Plaintiff AT&T Mobility II, LLC is a Delaware limited liability
                   7   company with its principal place of business in Atlanta, Georgia. Plaintiff BellSouth
                   8   Telecommunications, LLC is a Georgia limited liability company with its principal place of
                   9   business in Atlanta, Georgia. Plaintiff Cricket Wireless LLC, is a Delaware limited liability
              10       company with its principal place of business in Atlanta, Georgia. Cricket Wireless brings this
              11       lawsuit as the successor in interest to Cricket Communications, Inc. Plaintiff DC Comics is a
              12       New York general partnership with its principal place of business in Burbank, California.
              13       Plaintiff E.C. Publications, Inc. is a Delaware corporation with its principal place of business in
              14       Burbank, California. Plaintiff HBO Digital Services, Inc. is a Delaware corporation with its
              15       principal place of business in New York, New York. Plaintiff HBO Retail Ventures, Inc. is a
              16       Delaware corporation with its principal place of business in New York, New York. Plaintiff
              17       Telepictures Productions Inc. is a Delaware corporation with its principal place of business in
              18       Burbank, California. Plaintiff Warner Brothers Advanced Media Services Inc. is a Delaware
              19       corporation with its principal place of business in Burbank, California. Plaintiff Warner Bros.
              20       Consumer Products Inc. is a Delaware corporation with its principal place of business in Burbank,
              21       California. Plaintiff Warner Bros. Digital Networks Labs Inc. is a Delaware corporation with its
              22       principal place of business in New York, New York. Plaintiff Warner Bros. Entertainment, Inc.
              23       is a Delaware corporation with its principal place of business in Burbank, California. Plaintiff
              24       Warner Bros. Home Entertainment Inc. is a Delaware corporation with its principal place of
              25       business in Burbank, California. Plaintiff WB Games Boston Inc. is a Delaware corporation with
              26       its principal place of business in Needham, Massachusetts. Plaintiff WB Studio Enterprises Inc.
              27       is a Delaware corporation with its principal place of business in Burbank, California.
              28       Collectively, AT&T is one of the world’s largest integrated communications companies,
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                   1   providing high speed internet, mobile telephone and data services, traditional long distance and
                   2   local telephone service, cable and satellite television, to customers nationwide. In addition,
                   3   AT&T, through its WarnerMedia division, develops, produces, and distributes premier film,
                   4   television, and gaming content, consumer products, offers studio rental, retail, tour, and food
                   5   services, and subscription video-on-demand, among other products and services. AT&T accepts
                   6   both Visa and MasterCard debit and credit cards for payment in its retail stores and for telephone,
                   7   online, and recurring automatic payments. Accordingly, AT&T has been forced to pay
                   8   Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
                   9   unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
              10       will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              11       AT&T has therefore been injured, and continues to be injured, in its business and property as a
              12       result of the unlawful conduct alleged herein.
              13              43.     Plaintiff Enterprise Holdings, Inc. is a Missouri corporation with its principal place
              14       of business in St. Louis, Missouri. Enterprise operates—through an integrated global network of
              15       independent regional subsidiaries and franchises—the Enterprise Rent-A-Car, Alamo Rent A Car
              16       and National Car Rental brands, as well as more than 9,600 fully staffed neighborhood and airport
              17       locations in more than 90 countries. Enterprise accepts both Visa and MasterCard debit and
              18       credit cards for payment. Accordingly, Enterprise has been forced to pay Defendants’
              19       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              20       Competitive Restraints and other unlawful conduct throughout the damages period and will
              21       continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              22       Enterprise has therefore been injured, and continues to be injured, in its business and property as
              23       a result of the unlawful conduct alleged herein.
              24              44.     Plaintiff Fitness International, LLC is a California limited liability company with
              25       its principal place of business in Irvine, California. LA Fitness owns and operates over 700
              26       health and fitness clubs across the U.S. and Canada with state of the art exercise equipment and
              27       offers physical fitness services ranging from personal training to group fitness classes. LA
              28       Fitness also sells apparel for men and ladies and other merchandise through its online store. LA
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                   1   Fitness accepts both Visa and MasterCard debit and credit cards for payment. Accordingly, LA
                   2   Fitness has been forced to pay Defendants’ supracompetitive interchange fees and has suffered
                   3   the effects of Defendants’ unlawful Competitive Restraints and other unlawful conduct
                   4   throughout the damages period and will continue to be subjected to such harm until Defendants’
                   5   anticompetitive conduct is stopped. LA Fitness has therefore been injured, and continues to be
                   6   injured, in its business and property as a result of the unlawful conduct alleged herein.
                   7          45.     Plaintiff Flynn Restaurant Group LP is a Delaware limited partnership
                   8   headquartered in San Francisco, California. Flynn is the largest restaurant franchise group, and
                   9   one of the 20 largest foodservice companies of any kind, in the United States. Flynn owns over
              10       460 Applebee’s, 270 Taco Bells, 130 Panera cafes, and 360 Arby’s across 34 states. Flynn
              11       accepts both Visa and MasterCard debit and credit cards for payment. Accordingly, Flynn has
              12       been forced to pay Defendants’ supracompetitive interchange fees, has suffered the effects of
              13       Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
              14       period, and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
              15       is stopped. Flynn has therefore been injured, and continues to be injured, in its business and
              16       property as a result of the unlawful conduct alleged herein.
              17              46.     Plaintiff Gordon Brothers Group, LLC is a Delaware limited liability company
              18       headquartered in Boston, Massachusetts. Gordon Brothers brings this claim as the successor in
              19       interest of the claims in this case of: (1) The Bombay Company, Inc. (and several of its affiliates),
              20       whose claims Gordon Brothers acquired on November 21, 2016; (2) Michigan Sporting Goods
              21       Distributors, Inc., whose claims Gordon Brothers acquired on August 30, 2017; and (3) NSC
              22       Wholesale Holdings LLC (and several of its affiliates), whose claims Gordon Brothers acquired
              23       on June 19, 2019.
              24                      a.      The Bombay Company, Inc. (“Bombay”) is a furniture and home
              25       accessories retailer that, at times relevant to the complaint, had over 500 retail stores, as well as
              26       an online retail presence. Bombay accepted both Visa and MasterCard debit and credit cards for
              27       payment at its stores and on its website. Accordingly, Bombay was forced to pay Defendants’
              28       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
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                   1   Competitive Restraints and other unlawful conduct throughout the damages period. Bombay was
                   2   therefore injured in its business and property as a result of the unlawful conduct alleged herein.
                   3                  b.      Michigan Sporting Goods Distributors, Inc. (“MC Sports”) was a sporting
                   4   goods retailer that operated over 75 stores in the Midwestern United States. MC Sports ceased
                   5   operations in 2017 after filing for bankruptcy. MC Sports accepted both Visa and MasterCard
                   6   debit and credit cards for payment at its stores and on its website. Accordingly, MC Sports was
                   7   forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
                   8   Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
                   9   period. MC Sports was therefore injured in its business and property as a result of the unlawful
              10       conduct alleged herein.
              11                      c.      NSC Wholesale Holdings, LLC (“National Wholesale Liquidators”) was an
              12       operator of warehouse-style discount stores that sold a wide array of items. National Wholesale
              13       Liquidators operated approximately 50 stores, most of them in the Northeast. National Wholesale
              14       Liquidators accepted both Visa and MasterCard debit and credit cards for payment at its stores
              15       and on its website. Accordingly, National Wholesale Liquidators was forced to pay Defendants’
              16       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              17       Competitive Restraints and other unlawful conduct throughout the damages period. National
              18       Wholesale Liquidators was therefore injured in its business and property as a result of the
              19       unlawful conduct alleged herein.
              20              47.     Plaintiff Heart of America Management, L.L.C. is an Iowa limited liability
              21       company headquartered in Moline, Illinois. Heart of America operates 17 hotels and 23
              22       restaurants across the Midwest. Heart of America manages Hilton- and Marriott-branded hotels,
              23       among others. Heart of America brings this lawsuit on behalf of the properties listed on Exhibit
              24       E. This exhibit contains information to the best of Heart of America’s current knowledge, but
              25       may be amended upon discovery of further information. Heart of America accepts both Visa and
              26       MasterCard debit and credit cards for payment. Accordingly, Heart of America has been forced
              27       to pay Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
              28       unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
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                   1   will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
                   2   Heart of America has therefore been injured, and continues to be injured, in its business and
                   3   property as a result of the unlawful conduct alleged herein.
                   4          48.        Plaintiff Hilton Worldwide Holdings, Inc. is a Delaware corporation with its
                   5   principal place of business in McLean, Virginia. Hilton is one of the largest hospitality
                   6   companies in the world, with approximately 5,685 properties in 113 countries. Its hotel brand
                   7   portfolio includes Waldorf Astoria Hotels & Resorts, Hilton Hotels & Resorts, DoubleTree by
                   8   Hilton, Embassy Suites by Hilton, and Hilton Garden Inn, among others. Approximately 4,562 of
                   9   Hilton’s hotels are located in the United States. Hilton brings this lawsuit on behalf of all Hilton-
              10       branded hotels, including all hotels that it owned, managed, and franchised at any time during the
              11       relevant time period, except as described below. Such properties are set forth, to the best of
              12       Hilton’s current knowledge, on Exhibit F1, but may be amended upon discovery of further
              13       information. Any exclusions from the present complaint are listed on Exhibit F2, which also
              14       contains information to the best of Hilton’s current knowledge, but may be amended upon
              15       discovery of further information. Hilton accepts both Visa and MasterCard debit and credit cards
              16       for payment. Accordingly, Hilton has been forced to pay Defendants’ supracompetitive
              17       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              18       other unlawful conduct throughout the damages period and will continue to be subjected to such
              19       harm until Defendants’ anticompetitive conduct is stopped. Hilton has therefore been injured,
              20       and continues to be injured, in its business and property as a result of the unlawful conduct
              21       alleged herein.
              22              49.        Plaintiff Host Hotels & Resorts, L.P. is a Delaware limited partnership with its
              23       principal place of business in Bethesda, Maryland. Host Hotels owns luxury and upscale hotels.
              24       Its portfolio includes Hilton, Hyatt and Marriott-branded hotels, among others. Host Hotels
              25       brings this lawsuit on behalf of the properties listed on Exhibit G. This exhibit contains
              26       information to the best of Host Hotel’s current knowledge, but may be amended upon discovery
              27       of further information. Host Hotels accepts both Visa and MasterCard debit and credit cards for
              28       payment. Accordingly, Host Hotels has been forced to pay Defendants’ supracompetitive
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                   1   interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
                   2   other unlawful conduct throughout the damages period and will continue to be subjected to such
                   3   harm until Defendants’ anticompetitive conduct is stopped. Host Hotels has therefore been
                   4   injured, and continues to be injured, in its business and property as a result of the unlawful
                   5   conduct alleged herein.
                   6          50.     Plaintiff HSN, Inc. is a Delaware corporation with its principal place of business in
                   7   St. Petersburg, Florida. Plaintiff Cornerstone Brands, Inc. (“Cornerstone”) is a Delaware
                   8   corporation with its principal place of business in West Chester, Ohio. HSN is an interactive
                   9   multi-channel retailer offering an assortment of exclusive products and top brand names to its
              10       customers through various platforms, including television, online, mobile, catalogs, and in retail
              11       and outlet stores. The HSN television networks reach nearly 100 million residential households.
              12       HSN accepts both Visa and MasterCard debit and credit cards for payment. Cornerstone is
              13       composed of four home, apparel, and lifestyle brands, including Ballard Designs, Frontgate,
              14       Grandin Road, and Garnet Hill. Cornerstone operates e-commerce websites for each of these
              15       brands and has several retail and outlet stores. Accordingly, HSN has been forced to pay
              16       Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
              17       unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
              18       will continue to be subjected to such harm until Defendants’ anticompetitive conduct is
              19       stopped. HSN has therefore been injured, and continues to be injured, in its business and property
              20       as a result of the unlawful conduct alleged herein.
              21              51.     Plaintiff Hyatt Hotels Corporation is a Delaware corporation with its principal
              22       place of business in Chicago, Illinois. Hyatt is a leading global hospitality company, with a
              23       global portfolio consisting of approximately 843 hotels in 60 countries. Hyatt operates under
              24       several brands, including Park Hyatt, Hyatt Regency, Hyatt, Andaz, and Hyatt Place, among
              25       others. Approximately 62% of the rooms in Hyatt’s hotel system are in the United States, which
              26       constitutes approximately 81% of its revenues. Hyatt brings this lawsuit on behalf of all Hyatt-
              27       branded hotels, including all hotels that it owned, managed, and franchised at any time during the
              28       relevant time period, except as described below. Such properties are set forth, to the best of
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                   1   Hyatt’s current knowledge, on Exhibit H1, but may be amended upon discovery of further
                   2   information. Any exclusions from the present complaint are listed on Exhibit H2, which also
                   3   contains information to the best of Hyatt’s current knowledge, but may be amended upon
                   4   discovery of further information. Hyatt accepts both Visa and MasterCard debit and credit cards
                   5   for payment. Accordingly, Hyatt has been forced to pay Defendants’ supracompetitive
                   6   interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
                   7   other unlawful conduct throughout the damages period and will continue to be subjected to such
                   8   harm until Defendants’ anticompetitive conduct is stopped. Hyatt has therefore been injured, and
                   9   continues to be injured, in its business and property as a result of the unlawful conduct alleged
              10       herein.
              11                 52.   Plaintiff Ingram Micro Inc. is a Delaware corporation with its principal place of
              12       business in Irvine, California. Ingram Micro is one of the largest wholesale technology
              13       distributors in the world, with sales in 160 countries, operations in 64 countries, and maintaining
              14       198 logistics centers and service centers throughout the world. Among other things, it handles the
              15       distribution of one out of every three mobile devices in the United States. Ingram Micro accepts
              16       both Visa and MasterCard debit and credit cards for payment. Accordingly, Ingram Micro has
              17       been forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
              18       Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
              19       period and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
              20       is stopped. Ingram Micro has therefore been injured, and continues to be injured, in its business
              21       and property as a result of the unlawful conduct alleged herein.
              22                 53.   Plaintiff Interstate Hotels & Resorts, Inc. is a Delaware corporation headquartered
              23       in Arlington, Virginia. Interstate is a leading third-party hotel management company that
              24       operates properties in 39 states and the District of Columbia. Interstate manages Hilton, Hyatt,
              25       and Marriott-branded hotels, among others. Interstate brings this lawsuit on behalf of the
              26       properties listed on Exhibit I. This exhibit contains information to the best of Interstate’s current
              27       knowledge, but may be amended upon discovery of further information. Interstate accepts both
              28       Visa and MasterCard debit and credit cards for payment. Accordingly, Interstate has been forced
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                   1   to pay Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
                   2   unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
                   3   will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
                   4   Interstate has therefore been injured, and continues to be injured, in its business and property as a
                   5   result of the unlawful conduct alleged herein.
                   6          54.     Plaintiff Jack in the Box Inc. is a Delaware corporation with its principal place of
                   7   business in San Diego, California. Jack in the Box operates and franchises quick-service
                   8   restaurants, and was the first major hamburger chain to develop and expand the concept of drive-
                   9   thru restaurants. It operates or franchises approximately 2,237 quick-service restaurants in 21
              10       states and Guam. Jack in the Box accepts both Visa and MasterCard debit and credit cards for
              11       payment at its restaurants. Accordingly, Jack in the Box has been forced to pay Defendants’
              12       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              13       Competitive Restraints and other unlawful conduct throughout the damages period and will
              14       continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped. Jack
              15       in the Box has therefore been injured, and continues to be injured, in its business and property as
              16       a result of the unlawful conduct alleged herein. Jack in the Box seeks recovery for the restaurants
              17       that it owned and operated at any time during the relevant period, as set forth and listed on
              18       Exhibit J. This exhibit contains information to the best of Jack in the Box’s current knowledge,
              19       but may be amended upon discovery of further information.
              20              55.     Plaintiff Joshi Hotel Group, LLC is a Pennsylvania limited liability company
              21       headquartered in Allentown, Pennsylvania. JHG is one of the fastest growing hotel management
              22       companies in the Northeast Pennsylvania region. It manages Hilton and Marriott-branded hotels,
              23       among others. JHG brings this lawsuit on behalf of the properties listed on Exhibit K. This
              24       exhibit contains information to the best of JHG’s current knowledge, but may be amended upon
              25       discovery of further information. JHG accepts both Visa and MasterCard debit and credit cards
              26       for payment. Accordingly, JHG has been forced to pay Defendants’ supracompetitive
              27       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              28       other unlawful conduct throughout the damages period and will continue to be subjected to such
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                   1   harm until Defendants’ anticompetitive conduct is stopped. JHG has therefore been injured, and
                   2   continues to be injured, in its business and property as a result of the unlawful conduct alleged
                   3   herein.
                   4             56.   Plaintiff Kaiser Foundation Health Plan, Inc. is a California nonprofit public
                   5   benefit corporation with its principal place of business in Oakland, California. Plaintiff Kaiser
                   6   Foundation Hospitals is a California nonprofit public benefit corporation with its principal place
                   7   of business in Oakland, California. Kaiser Foundation Health Plan is one of the largest health
                   8   maintenance organizations in the United States with approximately 12.3 million members. Kaiser
                   9   Foundation Hospitals owns and operates 39 hospitals and 696 medical offices. KFHP/H operates
              10       in eight states and the District of Columbia. KFHP/H accepts both Visa and MasterCard debit
              11       and credit cards for payment at its retail stores and website. Accordingly, KFHP/H has been
              12       forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
              13       Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
              14       period and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
              15       is stopped. KFHP/H has therefore been injured, and continues to be injured, in its business and
              16       property as a result of the unlawful conduct alleged herein.
              17                 57.   Plaintiff LEGO Systems, Inc. is a Connecticut corporation with its principal place
              18       of business in Enfield, Connecticut. Plaintiff LEGO Brand Retail, Inc. is a Connecticut
              19       corporation with its principal place of business in Enfield, Connecticut. LEGO is a toy
              20       production company that manufactures the iconic LEGO brick. LEGO operates approximately 91
              21       retail locations in the United States across 35 states and an online retail website. LEGO accepts
              22       both Visa and MasterCard debit and credit cards for payment at its retail stores and website.
              23       Accordingly, LEGO has been forced to pay Defendants’ supracompetitive interchange fees and
              24       has suffered the effects of Defendants’ unlawful Competitive Restraints and other unlawful
              25       conduct throughout the damages period and will continue to be subjected to such harm until
              26       Defendants’ anticompetitive conduct is stopped. LEGO has therefore been injured, and continues
              27       to be injured, in its business and property as a result of the unlawful conduct alleged herein.
              28
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                   1          58.     Plaintiff Loews Hotels Holding Corporation is a Delaware corporation with its
                   2   principal place of business in New York, New York. Loews owns, operates, or manages a chain
                   3   of approximately 25 luxury hotels under the Loews brand, most of which are in the United States.
                   4   Loews brings this lawsuit on behalf of the properties listed on Exhibit L. This exhibit contains
                   5   information to the best of Loews’s current knowledge, but may be amended upon discovery of
                   6   further information. Loews accepts both Visa and MasterCard debit and credit cards for payment.
                   7   Accordingly, Loews has been forced to pay Defendants’ supracompetitive interchange fees and
                   8   has suffered the effects of Defendants’ unlawful Competitive Restraints and other unlawful
                   9   conduct throughout the damages period and will continue to be subjected to such harm until
              10       Defendants’ anticompetitive conduct is stopped. Loews has therefore been injured, and continues
              11       to be injured, in its business and property as a result of the unlawful conduct alleged herein.
              12              59.     Plaintiff Mananto Enterprises, LLC is a Massachusetts limited liability company
              13       with its principal place of business in Northampton, Massachusetts. Mananto Enterprises
              14       operates an historic full service lifestyle hotel, offering 106 elegantly furnished guestrooms and
              15       luxury suites. Mananto Enterprises accepts both Visa and MasterCard debit and credit cards for
              16       payment. Accordingly, Mananto Enterprises has been forced to pay Defendants’
              17       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              18       Competitive Restraints and other unlawful conduct throughout the damages period and will
              19       continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              20       Mananto Enterprises has therefore been injured, and continues to be injured, in its business and
              21       property as a result of the unlawful conduct alleged herein.
              22              60.     Plaintiff Marriott International, Inc. is a Delaware corporation with its principal
              23       place of business in Bethesda, Maryland. Marriott is a worldwide operator, franchisor, and
              24       licensor of hotel, residential, and timeshare properties under numerous brand names, including
              25       Marriott, The Ritz-Carlton, W Hotels, Sheraton, Courtyard, and many others. It is currently the
              26       largest hotel chain in the world, with more than 7,000 properties across 131 countries, over 5,100
              27       of which are in the United States. Marriott brings this lawsuit on behalf of all Marriott-branded
              28       hotels, including all hotels that it owned, managed, and franchised at any time during the relevant
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                   1   time period, except as described below. Such properties are set forth, to the best of Marriott’s
                   2   current knowledge, on Exhibit M1, but may be amended upon discovery of further information.
                   3   Any exclusions from the present complaint are listed on Exhibit M2, which also contains
                   4   information to the best of Marriott’s current knowledge, but may be amended upon discovery of
                   5   further information. These exhibits contain information to the best of Marriott’s current
                   6   knowledge, but may be amended upon discovery of further information. Marriott accepts both
                   7   Visa and MasterCard debit and credit cards for payment. Accordingly, Marriott has been forced
                   8   to pay Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
                   9   unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
              10       will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              11       Marriott has therefore been injured, and continues to be injured, in its business and property as a
              12       result of the unlawful conduct alleged herein.
              13              61.     Plaintiff Marriott Vacations Worldwide Corporation is a Delaware corporation
              14       with its principal place of business in Orlando, Florida. Marriott Vacations Worldwide is a global
              15       company that offers vacation ownership, exchange, and rental, resort, and property management.
              16       Its vacation ownership segment consists of more than 100 resorts and over 660,000 owners and
              17       members. Marriott Vacations Worldwide’s exchange & third-party management segment
              18       includes exchange networks and membership programs comprised of more than 3,200 resorts in
              19       over 80 nations and nearly two million members, as well as management of more than 180
              20       additional resorts and lodging properties. Marriott Vacations Worldwide brings this lawsuit on
              21       behalf of the Owners’ Associations listed on Exhibit N. This exhibit contains information to the
              22       best of Marriott Vacations Worldwide’s current knowledge, but may be amended upon discovery
              23       of further information. Marriott Vacations Worldwide accepts both Visa and MasterCard debit
              24       and credit cards for payment. Accordingly, Marriott Vacations Worldwide has been forced to pay
              25       Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
              26       unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
              27       will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              28
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                   1   Marriott Vacations Worldwide has therefore been injured, and continues to be injured, in its
                   2   business and property as a result of the unlawful conduct alleged herein.
                   3          62.        Plaintiff Mountain Standard Group, LLC is a Wyoming limited liability company
                   4   headquartered in Jackson, Wyoming. Yarrow is a management and consulting company focused
                   5   on providing unique hospitality environments in inspirational locations across the Mountain
                   6   West. Yarrow brings this lawsuit on behalf of the properties listed on Exhibit O. This exhibit
                   7   contains information to the best of Yarrow’s current knowledge, but may be amended upon
                   8   discovery of further information. Yarrow accepts both Visa and MasterCard debit and credit
                   9   cards for payment. Accordingly, Yarrow has been forced to pay Defendants’ supracompetitive
              10       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              11       other unlawful conduct throughout the damages period and will continue to be subjected to such
              12       harm until Defendants’ anticompetitive conduct is stopped. Yarrow has therefore been injured,
              13       and continues to be injured, in its business and property as a result of the unlawful conduct
              14       alleged herein.
              15              63.        Plaintiff National General Holdings Corp. is a Delaware corporation with its
              16       principal place of business in New York, New York. National General Management Corp. is a
              17       Delaware corporation with its principal place of business in New York, New York. National
              18       General is a specialty personal lines insurance company that provides a variety of insurance
              19       products, including personal and small business automobile, homeowners, umbrella, and others.
              20       National General has approximately 4.1 million property and casualty insurance policyholders,
              21       and it is licensed to operate in 50 states and the District of Columbia. National General accepts
              22       both Visa and MasterCard debit and credit cards for payment. Accordingly, National General has
              23       been forced to pay Defendants’ supracompetitive interchange fees and has suffered the effects of
              24       Defendants’ unlawful Competitive Restraints and other unlawful conduct throughout the damages
              25       period and will continue to be subjected to such harm until Defendants’ anticompetitive conduct
              26       is stopped. National General has therefore been injured, and continues to be injured, in its
              27       business and property as a result of the unlawful conduct alleged herein.
              28
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                   1          64.     Plaintiff Nespresso USA, Inc. is a Delaware corporation with its principal place of
                   2   business in New York, New York. Nespresso sells and distributes coffee capsules, coffee
                   3   machines, and related accessories for homes, offices, hotels, and restaurants. Nespresso operates
                   4   retail stores and sells to customers online. Nespresso accepts both Visa and MasterCard debit and
                   5   credit cards for payment. Accordingly, Nespresso has been forced to pay Defendants’
                   6   supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
                   7   Competitive Restraints and other unlawful conduct throughout the damages period and will
                   8   continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
                   9   Nespresso has therefore been injured, and continues to be injured, in its business and property as
              10       a result of the unlawful conduct alleged herein.
              11              65.     Plaintiff Nestle Waters North America Inc. is a Delaware corporation with its
              12       principal place of business in Stamford, Connecticut. Nestle Waters is one of the largest non-
              13       alcoholic beverage companies in the United States, with a product portfolio including a variety of
              14       quality water brands, such as Perrier, Poland Spring, Arrowhead, S.Pellegrino, and others.
              15       Through its direct-to-consumer business, Ready Refresh, serving over 1 million customers, Nestle
              16       Waters accepts both Visa and MasterCard debit and credit cards for payment. Accordingly,
              17       Nestle Waters has been forced to pay Defendants’ supracompetitive interchange fees and has
              18       suffered the effects of Defendants’ unlawful Competitive Restraints and other unlawful conduct
              19       throughout the damages period and will continue to be subjected to such harm until Defendants’
              20       anticompetitive conduct is stopped. Nestle Waters has therefore been injured, and continues to be
              21       injured, in its business and property as a result of the unlawful conduct alleged herein.
              22              66.     Plaintiff Old Comp. Inc. is a Delaware corporation headquartered in Dallas, Texas.
              23       CompUSA was one of the nation’s leading consumer electronics, technology products, and
              24       computer services retailers. CompUSA operated over 100 stores and an online retail website. In
              25       late 2007, CompUSA closed the majority of its stores, and the remaining stores were sold.
              26       CompUSA accepted both Visa and MasterCard debit and credit cards for payment at its stores
              27       and on its website. Accordingly, CompUSA was forced to pay Defendants’ supracompetitive
              28       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
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                   1   other unlawful conduct throughout the damages period. CompUSA was therefore injured in its
                   2   business and property as a result of the unlawful conduct alleged herein.
                   3          67.     Plaintiff OnStar, LLC is a Delaware corporation with its principal place of
                   4   business in Detroit, Michigan. OnStar provides a variety of services directly to its customers who
                   5   own and/or operate millions of vehicles in the United States on a monthly or other subscription
                   6   basis. OnStar’s services include safety, security, and mobility solutions for customers such as
                   7   automatic crash response, stolen vehicle assistance, roadside assistance, dealer maintenance
                   8   notifications, hands-free telephone calling, and others. OnStar accepts both Visa and MasterCard
                   9   debit and credit cards for payment. Accordingly, OnStar has been forced to pay Defendants’
              10       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              11       Competitive Restraints and other unlawful conduct throughout the damages period and will
              12       continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              13       OnStar has therefore been injured, and continues to be injured, in its business and property as a
              14       result of the unlawful conduct alleged herein.
              15              68.     Plaintiff Pacifica Hotel Management, LLC is a California limited liability
              16       company headquartered in Aliso Viejo, California. Pacifica operates 30 focused-service boutique
              17       hotels and 4 full-service restaurants. Its portfolio includes properties in California, Hawaii, and
              18       Florida. Pacifica manages Hilton and Marriott-branded hotels, among others. Pacifica brings this
              19       lawsuit on behalf of the properties listed on Exhibit P. This exhibit contains information to the
              20       best of Pacifica’s current knowledge, but may be amended upon discovery of further information.
              21       Pacifica accepts both Visa and MasterCard debit and credit cards for payment. Accordingly,
              22       Pacifica has been forced to pay Defendants’ supracompetitive interchange fees and has suffered
              23       the effects of Defendants’ unlawful Competitive Restraints and other unlawful conduct
              24       throughout the damages period and will continue to be subjected to such harm until Defendants’
              25       anticompetitive conduct is stopped. Pacifica has therefore been injured, and continues to be
              26       injured, in its business and property as a result of the unlawful conduct alleged herein.
              27              69.     Plaintiff Public Storage is a Maryland corporation with its principal place of
              28       business in Glendale, California. Public Storage is the largest brand of self-storage services in the
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                   1   United States. There are approximately 2,429 Public Storage facilities across 38 states.
                   2   Additionally, Public Storage reinsures policies against losses to goods stored by its customers at
                   3   Public Storage facilities and sells merchandise at its facilities. Public Storage accepts both Visa
                   4   and MasterCard debit and credit cards for payment. Accordingly, Public Storage has been forced
                   5   to pay Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
                   6   unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
                   7   will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
                   8   Public Storage has therefore been injured, and continues to be injured, in its business and property
                   9   as a result of the unlawful conduct alleged herein.
              10              70.     Plaintiff Qdoba Restaurant Corporation is a Colorado Corporation with its
              11       principal place of business in San Diego, California. Qdoba operates and franchises fast casual
              12       restaurants that serve Mexican cuisine. It operates or franchises approximately 750 restaurants in
              13       46 states and the District of Columbia. Qdoba accepts both Visa and MasterCard debit and credit
              14       cards for payment at its restaurants. Accordingly, Qdoba has been forced to pay Defendants’
              15       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              16       Competitive Restraints and other unlawful conduct throughout the damages period and will
              17       continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              18       Qdoba has therefore been injured, and continues to be injured, in its business and property as a
              19       result of the unlawful conduct alleged herein. Qdoba seeks recovery for the restaurants that it
              20       owned and operated at any time during the relevant period, as set forth and listed on Exhibit Q.
              21       This exhibit contains information to the best of Qdoba’s current knowledge, but may be amended
              22       upon discovery of further information.
              23              71.     Plaintiff Sage Hospitality Resources LLC is a Delaware limited liability company
              24       headquartered in Denver, Colorado. Plaintiff Sage Investment Holdings, L.L.C. is a Delaware
              25       limited liability company headquartered in Denver, Colorado. Sage is a leading hotel
              26       management and development company, operating through direct or indirect subsidiaries or
              27       affiliates, hotels and restaurants in 15 states and Washington, D.C., including Hilton, Hyatt, and
              28       Marriott-branded hotels, among others. Sage accepts (or its subsidiaries or affiliates accept) on
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                   1   behalf of the owners of such hotels and restaurants, both Visa and MasterCard debit and credit
                   2   cards for payment. Sage brings this lawsuit on behalf of itself, its subsidiaries and affiliates, the
                   3   properties listed on Exhibit R, and the owners thereof. This exhibit contains information to the
                   4   best of Sage’s current knowledge, but may be amended upon discovery of further
                   5   information. Accordingly, Sage and/or its subsidiaries or affiliates, in the capacity as manager of
                   6   such properties, has been forced to pay (on behalf of such properties and the owners thereof)
                   7   Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
                   8   unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
                   9   will continue to be subjected to such harm until Defendants’ anticompetitive conduct is
              10       stopped. Sage, in such capacity and on behalf of such properties and the respective owners
              11       thereof, has therefore been injured, and continues to be injured, in its business and property as a
              12       result of the unlawful conduct alleged herein.
              13              72.     Plaintiff Sephora USA, Inc. is a Delaware corporation with its principal place of
              14       business in San Francisco, California. Sephora is a leader in global prestige retail, owning and
              15       operating a chain of perfume and cosmetics stores in North America. Sephora offers makeup
              16       products, skin care products, fragrances, hair care products, bath and body products, nail
              17       products, professional tools and brushes, men’s products, gifts, and also provides beauty classes
              18       and services. Sephora has over 450 stand-alone locations in North America and over 660
              19       additional locations within J.C. Penney department stores. Sephora accepts both Visa and
              20       MasterCard debit and credit cards for payment. Accordingly, Sephora has been forced to pay
              21       Defendants’ supracompetitive interchange fees and has suffered the effects of Defendants’
              22       unlawful Competitive Restraints and other unlawful conduct throughout the damages period and
              23       will continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              24       Sephora has therefore been injured, and continues to be injured, in its business and property as a
              25       result of the unlawful conduct alleged herein.
              26              73.     Plaintiff Sunstone Hotel Investors, Inc. is a Maryland corporation headquartered in
              27       Irvine, California. Sunstone is a real estate investment trust that acquires, owns, asset manages,
              28       and renovates hotels, primarily in the upper-scale segment. Its portfolio includes 21 properties in
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                   1   8 states and Washington, D.C. Sunstone owns Hilton, Hyatt, and Marriott-branded hotels, among
                   2   others. Sunstone brings this lawsuit on behalf of the properties listed on Exhibit S. This exhibit
                   3   contains information to the best of Sunstone’s current knowledge, but may be amended upon
                   4   discovery of further information. Sunstone accepts both Visa and MasterCard debit and credit
                   5   cards for payment. Accordingly, Sunstone has been forced to pay Defendants’ supracompetitive
                   6   interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
                   7   other unlawful conduct throughout the damages period and will continue to be subjected to such
                   8   harm until Defendants’ anticompetitive conduct is stopped. Sunstone has therefore been injured,
                   9   and continues to be injured, in its business and property as a result of the unlawful conduct
              10       alleged herein.
              11              74.        Plaintiff United Airlines, Inc. is a Delaware corporation with its principal place of
              12       business in Chicago, Illinois. United transports people and cargo through its mainline and
              13       regional operations. United has the world’s most comprehensive route network, including U.S.
              14       mainland hubs in Chicago, Denver, Houston, Los Angeles, New York/Newark, San Francisco,
              15       and Washington, D.C. United and its regional carriers operate more than 4,900 flights a day to
              16       356 airports across five continents. United accepts both Visa and MasterCard debit and credit
              17       cards for payment. Accordingly, United has been forced to pay Defendants’ supracompetitive
              18       interchange fees and has suffered the effects of Defendants’ unlawful Competitive Restraints and
              19       other unlawful conduct throughout the damages period and will continue to be subjected to such
              20       harm until Defendants’ anticompetitive conduct is stopped. United has therefore been injured,
              21       and continues to be injured, in its business and property as a result of the unlawful conduct
              22       alleged herein.
              23              75.        Plaintiff UnitedHealth Group Incorporated is a Delaware corporation with its
              24       principal place of business in Minnetonka, Minnesota. UnitedHealth is a diversified health care
              25       company with two distinct business platforms: health benefits operating under UnitedHealthcare
              26       and health services operating under Optum. Through UnitedHealthcare and Optum, UnitedHealth
              27       processed more than three-quarters of a trillion dollars in gross billed charges and managed more
              28       than $250 billion in aggregate health care spending on behalf of customers and consumers in
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                   1   2018. UnitedHealth accepts both Visa and MasterCard debit and credit cards for payment.
                   2   Accordingly, UnitedHealth has been forced to pay Defendants’ supracompetitive interchange fees
                   3   and has suffered the effects of Defendants’ unlawful Competitive Restraints and other unlawful
                   4   conduct throughout the damages period and will continue to be subjected to such harm until
                   5   Defendants’ anticompetitive conduct is stopped. UnitedHealth has therefore been injured, and
                   6   continues to be injured, in its business and property as a result of the unlawful conduct alleged
                   7   herein.
                   8             76.   Plaintiff White Lodging Services Corporation is an Indiana corporation
                   9   headquartered in Merrillville, Indiana. White Lodging is one of the largest hospitality companies
              10       in the United States, managing as many as 160 hotels. White Lodging manages Marriott-branded
              11       hotels, among others. White Lodging brings this lawsuit on behalf of itself, its subsidiaries and
              12       affiliates, the properties listed on Exhibit T, and the owners thereof. This exhibit contains
              13       information to the best of White Lodging’s current knowledge, but may be amended upon
              14       discovery of further information. White Lodging accepts both Visa and MasterCard debit and
              15       credit cards for payment. Accordingly, White Lodging has been forced to pay Defendants’
              16       supracompetitive interchange fees and has suffered the effects of Defendants’ unlawful
              17       Competitive Restraints and other unlawful conduct throughout the damages period and will
              18       continue to be subjected to such harm until Defendants’ anticompetitive conduct is stopped.
              19       White Lodging has therefore been injured, and continues to be injured, in its business and
              20       property as a result of the unlawful conduct alleged herein.
              21       Defendants
              22                 77.   Until the corporate restructuring and initial public offering described below,
              23       Defendant Visa International Service Association was a non-stock Delaware corporation with its
              24       principal place of business in Foster City, California. Defendant Visa U.S.A., Inc. was a group-
              25       member of Visa International Service Association and was also a non-stock Delaware
              26       corporation. Visa U.S.A., Inc.’s members were the financial institutions acting as issuing banks
              27       and acquiring banks in the Visa system.
              28
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                   1          78.      Defendant Visa Inc. is a Delaware corporation with its principal place of business
                   2   in Foster City, California. Defendant Visa Inc. was created through a corporate reorganization in
                   3   or around October 2007. Visa U.S.A. Inc.’s affiliate banks were the initial shareholders of Visa
                   4   Inc.
                   5          79.      Defendants Visa Inc., Visa USA, Inc., and Visa International Service Association
                   6   are referred to collectively as “Visa” in this Complaint.
                   7          80.      Defendant MasterCard Incorporated was incorporated as a Delaware stock
                   8   corporation in May 2001. Its principal place of business is in Purchase, New York.
                   9          81.      Defendant MasterCard International Incorporated was formed in November 1966
              10       as a Delaware membership corporation whose principal or affiliate members were its financial
              11       institution issuing banks and acquiring banks. Prior to the initial public offering described below,
              12       MasterCard International Incorporated was the principal operating subsidiary of MasterCard
              13       Incorporated.
              14              82.      Defendants MasterCard International Incorporated and MasterCard Incorporated
              15       are referred to collectively as “MasterCard” in this Complaint.
              16                                                ALLEGATIONS
              17       Payment Card Industry In General
              18              83.      The payment card industry involves two categories of general purpose payment
              19       cards: (a) General Purpose Credit Cards, and (b) General Purpose Debit Cards. As explained
              20       below, to the degree, if any, that Plaintiffs are required to allege relevant markets, General
              21       Purpose Credit Cards constitute a separate product market from General Purpose Debit Cards.
              22              84.      Card issuers earn income from fees charged on each transaction, as well as interest
              23       charged on cardholder account balances. Through the Competitive Restraints, issuing banks have
              24       agreed with one another, and with their respective defendant network, to eliminate competition
              25       for the merchants’ use of their network services. Absent the Competitive Restraints, it would be
              26       in the issuing bank’s interests to bargain with merchants to persuade those merchants to accept
              27       and promote customer use of its own cards instead of other issuing banks’ cards in order to
              28       increase transactions.
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                   1          85.     Issuing banks offer numerous credit card products, some of which offer features
                   2   such as cash back rebates, low interest rates, low or no annual fees, and rewards programs tied to
                   3   usage. Cards that offer cash back, airline miles, or other usage benefits are often referred to as
                   4   “rewards cards.” Those rewards cards that offer the highest levels of rewards may be referred to
                   5   as “premium cards” and include cards such as “Visa Signature Preferred” and “MasterCard World
                   6   Elite.” Standard or “traditional” credit cards, which do not offer the same array of features to
                   7   cardholders, include products such as “Visa Traditional” and the “MasterCard Core Value” cards.
                   8   Interchange fees for cards offering greater rewards are often much higher than fees for cards
                   9   offering lesser or no rewards.
              10              86.     Only a fraction of the increase in interchange fees for rewards cards actually goes
              11       to paying the benefits of the rewards cards to cardholders. Visa, MasterCard, and their affiliate
              12       banks largely retain the supracompetitive merchant fees that merchants pay. Plaintiffs and other
              13       merchants receive no additional benefits whatsoever from the higher interchange fees on reward
              14       and premium cards. Nevertheless, the Honor All Cards Rules and other restraints prevent
              15       merchants from refusing to accept cards with higher interchange fees.
              16              87.     Debit cards are one means for demand deposit account holders to access the
              17       money in their accounts. Pre-paid debit cards allow cardholders to access the funds deposited on
              18       the card when it was purchased. There are two primary forms of authentication in use for debit
              19       cards in the United States. One is signature-based, in which the cardholder’s signature is usually
              20       (but not always) obtained at the time of the transaction, like with a credit card. The other is PIN-
              21       based, in which the cardholder enters a four-digit PIN into a key pad at the point of sale instead of
              22       signing. Signature-based authentication is far more prone to fraud than PIN-based authentication.
              23              88.     Because debit card transactions promptly withdraw funds from the cardholder’s
              24       account or from the pre-paid card balance, rather than allowing a grace period before billing and
              25       payment, they differ from credit card transactions in their utility to consumers. These differences
              26       underlie the court’s determination in United States v. Visa USA, Inc., 163 F. Supp. 2d 322
              27       (S.D.N.Y. 2001), aff’d, 344 F.3d 229 (2d Cir. 2003), that credit card transactions comprise a
              28       separate product market from debit card transactions.
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                   1          89.     Before their respective initial public offerings (“IPOs”), Visa and MasterCard
                   2   adopted rules (the Competitive Restraints) that limited competition for merchant acceptance and
                   3   agreed with member banks to impose those Competitive Restraints on merchants that accept their
                   4   respective Visa-branded and MasterCard-branded cards. Among the Competitive Restraints are
                   5   the “default” interchange fees that merchants are required to pay each time they accept Visa-
                   6   branded or MasterCard-branded credit or debit cards. By requiring merchants to accept every
                   7   Visa or MasterCard-branded card if they accept any single such card, and by prohibiting
                   8   merchants from steering customers to less expensive cards or even informing them of this option,
                   9   the Competitive Restraints effectively insulate the issuing banks from competition and render the
              10       “default” interchange fees binding on the merchants. As a result, Visa, MasterCard, and their
              11       respective issuing banks gained significant market power in the payment card markets. The
              12       Competitive Restraints they imposed have eliminated the possibility of competition among
              13       issuing banks for merchant acceptance of network services. These Competitive Restraints have
              14       therefore eliminated the development of competitive markets for merchant acceptance of network
              15       services among issuing affiliate banks.
              16              90.     Thus, the Competitive Restraints enforced by Visa and MasterCard, and the
              17       actions taken in furtherance of them, constituted and continue to constitute combinations,
              18       agreements, and conspiracies that unreasonably restrain trade in violation of Section 1 of the
              19       Sherman Act, 15 U.S.C. § 1.
              20              91.     Between 2006 and 2008, Visa and MasterCard both changed their ownership
              21       structures and conducted IPOs in which their member banks partially divested their ownership of
              22       the Defendants. But the restructurings and IPOs did not change the fundamental character of the
              23       agreements to fix prices or limit competition. A large part of the motivation for the restructurings
              24       was to avoid antitrust liability by limiting the appearance that Visa and MasterCard were
              25       structural conspiracies controlled by competing banks. As MasterCard’s 2006 prospectus for its
              26       IPO states, “heightened regulatory scrutiny and legal challenges” underlie the decision to make
              27       changes in the ownership structure. In particular, MasterCard stated that “many of the legal and
              28       regulatory challenges we face are in part directed at our current ownership and governance
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                   1   structure in which our customers—or member financial institutions—own all of our common
                   2   stock and are involved in our governance by having representatives serve on our global and
                   3   regional boards of directors.”
                   4          92.     Nonetheless, although Defendants conducted the IPOs, obtained huge amounts of
                   5   capital from the public markets, and took steps to restructure their organizations to avoid the
                   6   appearance of collective action by independent actors, neither Visa, MasterCard, nor any of their
                   7   affiliate banks took any affirmative steps to withdraw from their agreements to fix prices and
                   8   eliminate competition. On the contrary, Visa and MasterCard continued to set “default”
                   9   interchange fees and enforce the Competitive Restraints for the benefit of themselves and their
              10       issuing bank affiliates, and with their affiliate banks, Visa and MasterCard have continued to
              11       prevent competition among issuing banks for merchant acceptance of network services.
              12              93.     Even after the IPOs, Visa and its affiliate banks persisted in facilitating and
              13       enforcing the horizontal agreements among themselves to continue to adhere to and enforce
              14       “default” interchange fees and the Competitive Restraints. Likewise, MasterCard and its affiliate
              15       banks persisted in facilitating and enforcing the horizontal agreements among themselves to
              16       continue to adhere to and enforce “default” interchange fees and the Competitive Restraints. It
              17       would be contrary to the independent self-interest of any single issuing bank to adhere to the
              18       Competitive Restraints without the agreement of the remaining issuing banks to impose and
              19       adhere to those same restraints as well. Visa and MasterCard, by acting as the managers of their
              20       respective combinations and agreements to continue imposing and adhering to the Competitive
              21       Restraints, eliminate competition for merchant acceptance among their respective issuing banks.
              22       But for the agreements that Visa and MasterCard facilitate and enforce, the affiliate banks would
              23       be free to compete with one another for merchant acceptance of the cards they issue and use of
              24       their network services.
              25              94.     Each issuing bank is an independently owned and independently managed
              26       business pursuing its separate economic interests. However, as a result of their agreements with
              27       each other and combination under Visa and MasterCard, the issuing affiliate banks do not
              28       compete for merchant use of network services for the cards they issue. Instead, both before and
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                   1   after the Visa and MasterCard IPOs, Visa and MasterCard have exerted authority over a universal
                   2   set of terms and prices imposed on merchants that accept Visa or MasterCard-branded cards.
                   3   These terms have the effect of fixing the price of interchange fees and otherwise eliminating
                   4   competition, and do not vary based on the cards’ issuer, the type of card, or the actual costs
                   5   merchants must pay to accept these cards. By agreeing and adhering to the Competitive
                   6   Restraints and universal interchange fees, the affiliate banks have deprived merchants and their
                   7   customers of the benefits of competition through independent decision-making.
                   8                               THE ANTICOMPETITIVE CONDUCT
                   9   The Competitive Restraints
              10              95.     On behalf of and with the agreement of their affiliate issuing banks, Visa and
              11       MasterCard have each adopted and imposed supracompetitive “default” interchange fees and
              12       other Competitive Restraints on Plaintiffs and other merchants. Those restraints eliminate
              13       competition in the markets for General Purpose Credit Card Network Services and General
              14       Purpose Debit Card Network Services. But for the Competitive Restraints, issuing banks would
              15       compete with one another by lowering prices, increasing quality, innovating, and/or
              16       differentiating their services to ensure that the maximum number of merchants accept their
              17       particular credit or debit cards. Competition for merchant acceptance of certain credit and debit
              18       cards would lead issuing banks to offer lower interchange fees, better services, and more
              19       innovative services and/or products to merchants in an effort to win those merchants’ business.
              20       As a result, merchants would then offer better and differentiated services and/or products,
              21       including lower prices and discounting at the point of sale, to their consumers. Thus, the
              22       Competitive Restraints have caused Plaintiffs’ cost of acceptance of credit and debit cards to be
              23       higher than would prevail in a competitive market, which has caused resulting harm to all of their
              24       customers, including Visa and MasterCard cardholders.
              25              96.     Collective Fixing of Interchange Fees: Visa and MasterCard set so-called
              26       “default” interchange fees on credit card and debit card transactions that merchants must pay to
              27       their issuing banks and the card networks. The setting of interchange fees and other Competitive
              28       Restraints amounts to price fixing, a per se violation of Section 1 of the Sherman Act.
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                   1          97.     Uniform “default” interchange fees are established collectively by Visa,
                   2   MasterCard, and their affiliate banks and have the effect of fixing the prices paid by merchants
                   3   for card acceptance. In setting the interchange fees that are paid to their affiliate banks and card
                   4   networks, Visa and MasterCard each acts as the ring-leader and enforcer of its respective
                   5   combination, setting the price that merchants pay for card acceptance and enforcing the restraints
                   6   that support and perpetuate its exercise of market power. In addition to fixing prices within each
                   7   network, Visa and MasterCard collectively fix interchange fees across networks through
                   8   communication among affiliate banks, most of whom are affiliates of both card networks and
                   9   many of whom have, at some time, been represented on the boards of directors of both. Both
              10       Visa and MasterCard have consistently raised interchange fee rates in nearly simultaneous
              11       fashion. Neither network would have an incentive to collectively set their fee increases were
              12       there competition among the two networks and their affiliate banks or if the networks and
              13       affiliates of both did not know in advance that all affiliate banks of both networks would abide by
              14       the Competitive Restraints. Interchange fees account for the largest portion of merchant costs for
              15       accepting payment cards.
              16              98.     The interchange fees fixed by Visa and its affiliate banks, and MasterCard and its
              17       affiliate banks, are established without regard to their relative cost advantages and are not the fees
              18       that would be charged in a competitive market. Rather, interchange fees are set at the level that
              19       maximizes the profits of the Defendants while maintaining Defendants’ market power. In fact, in
              20       the past and in many other countries, payment card networks have managed to be profitable and
              21       provide excellent service while charging much lower or no interchange fees. As an example,
              22       until the mid-1990s, PIN debit networks in the U.S. often charged no interchange fee or even paid
              23       a reverse interchange fee to merchants for each transaction. The supracompetitive interchange
              24       fees Visa and MasterCard currently charge are tools to reinforce the strength of their conspiracies,
              25       enticing issuing banks to issue cards through these networks and thereby maintaining and
              26       increasing these networks’ market power.
              27              99.     Visa and MasterCard both set interchange fees that purport to be only non-binding
              28       “default” rates, but in practice, these “default” rates constitute a de facto agreement among
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                   1   competing banks to use those rates as binding and uniform supracompetitive interchange fees that
                   2   merchants are forced to pay as a result of Visa and MasterCard’s illegal exercise of unlawful
                   3   agreement.
                   4          100.    Acquiring banks that do not ensure that the applicable interchange fee is applied
                   5   when submitting a transaction for authorization, clearance, and settlement are subject to fines
                   6   assessed by Visa and MasterCard, or even expulsion. Thus, in practice, both Visa and
                   7   MasterCard’s rules fix interchange fees, because the Competitive Restraints remove any
                   8   independent competition among issuing banks in the setting of interchange fees.
                   9          101.    Absent the Competitive Restraints, Plaintiffs would be able to negotiate separate
              10       interchange fee arrangements with individual issuing banks, and, through this competitive
              11       process, would only pay fees for use of network services as determined by competition among the
              12       issuing banks. But in the non-competitive system created by the Visa and MasterCard
              13       combinations, Visa and MasterCard establish the “default” interchange fee schedules, eliminating
              14       this competition and harming Plaintiffs and depriving their customers of the benefits of
              15       competition.
              16              102.    Honor All Cards Rules: These rules require that a merchant that accepts any
              17       Visa-branded or MasterCard-branded credit card must accept all Visa-branded or MasterCard-
              18       branded credit cards, no matter which bank issued the card or the card type. Similarly, a
              19       merchant that accepts Visa or MasterCard-branded debit cards must accept all Visa or
              20       MasterCard-branded debit cards, no matter the issuing bank. Because of the Honor All Cards
              21       Rules, Plaintiffs cannot reject any or all of the types of cards issued by any particular issuing bank
              22       without declining to accept all cards carrying the same brand. The effect of the Honor All Cards
              23       Rules is to completely eliminate all actual and potential price and non-price competition among
              24       issuing banks, harming merchants and consumers alike. This also has the effect of establishing
              25       the “default” interchange rates as binding on all merchants, including Plaintiffs.
              26              103.    All Outlets Rules: The All Outlets Rules require merchants that accept Visa-
              27       branded or MasterCard-branded payment cards to accept those cards at all of their merchant
              28       locations. A merchant is not permitted to accept the cards at some stores but not others. These
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                   1   rules stop merchants from gaining the benefits of competition as to the terms of acceptance by
                   2   location (for example, by region of the country).
                   3          104.    Before January 27, 2013, the All Outlets Rules required merchants that operated
                   4   under multiple banners (e.g., trade names or name plates) and that accepted Visa-branded or
                   5   MasterCard-branded payment cards to accept those cards at all of their banners. This rule
                   6   precluded merchants from gaining the benefits of competition as to the terms of acceptance with
                   7   issuing banks by banner or by locations within a banner. As a result, Plaintiffs could not indicate
                   8   that they would terminate acceptance of the cards of a particular issuing bank at some of their
                   9   banners to promote competition as to fees.
              10              105.    Changes that Visa and MasterCard made to their All Outlets Rules implemented
              11       after January 27, 2013 do not diminish the anticompetitive effects or the injuries Plaintiffs
              12       continue to suffer. The All Outlets Rules still require that if a merchant elects to accept Visa-
              13       branded or MasterCard-branded cards at one of its banners, it must accept all such cards at all
              14       locations of that banner. Merchants also cannot accept the cards of some issuers but not others at
              15       a particular location pursuant to the Honor All Cards Rules. The All Outlets Rules reinforce the
              16       Honor All Cards Rule by forcing merchants to accept Visa-branded or MasterCard-branded cards
              17       at either all of their locations or at no locations. Refusing to accept any Visa or MasterCard-
              18       branded cards at any location would result in an unacceptable loss of sales.
              19              106.    The effect of the All Outlets Rules is to completely eliminate all actual and
              20       potential price and non-price competition among issuing banks, harming merchants and
              21       consumers alike. This also has the effect of establishing the “default” interchange rates as
              22       binding on all merchants, including Plaintiffs.
              23              107.    No Discount and Anti-Steering Rules: Under the No Discount Rules, merchants
              24       are only allowed to offer discounts to customers who pay in cash, rather than using a payment
              25       card. Anti-Steering Rules include the No Discount and other related rules that prohibit merchants
              26       from steering customers to less costly forms of payment. These rules acted and continue to act to
              27       eliminate competition both among Visa and MasterCard issuers and among Visa, MasterCard,
              28       and other networks, such as American Express and Discover. Together, because they eliminate
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                   1   merchants’ ability to steer customers to less costly cards (and, indeed, blind customers to the
                   2   difference in costs among various cards), the rules remove all incentives other card networks
                   3   would normally have to try to win market share from Visa and MasterCard and their affiliate
                   4   banks by undercutting Defendants’ supracompetitive interchange fees or by providing better
                   5   service and products. Visa and MasterCard could not afford to fix interchange fees and their
                   6   affiliates could not afford to abide by the “default” fees and Competitive Restraints were it not for
                   7   the protection from competing payment networks afforded by the Anti-Steering Rules and other
                   8   related rules.
                   9           108.     As of July 20, 2011, and pursuant to a settlement with the United States
              10       Department of Justice, Visa and MasterCard changed their rules to allow merchants to offer
              11       discounts to consumers in some limited circumstances. These changes to the No Discount Rules
              12       have not diminished the anticompetitive effects of the Competitive Restraints. Despite allowing
              13       merchants more discounting options, merchants are still prohibited from offering discounts to
              14       consumers for using cards issued by particular issuing banks. The changes to the No Discount
              15       Rules have therefore not increased competition among issuing banks for merchant acceptance or
              16       to lower interchange fees. A merchant’s ability to offer issuer-specific discounts would be an
              17       important tool for gaining the benefits of competition as to the terms of acceptance with an
              18       issuing bank. Moreover, the networks’ past and present prohibitions on discounting and other
              19       forms of inter-issuer and inter-brand steering have deprived cardholders and other consumers of
              20       discounts they might otherwise receive and of the lower retail prices they could expect were
              21       merchants such as Plaintiffs able to lower payment card acceptance costs by inducing competition
              22       among issuers and networks.
              23               109.     The effect of the No Discount and Anti-Steering Rules is to completely eliminate
              24       all actual and potential price and non-price competition among issuing banks, harming merchants
              25       and consumers alike. This also has the effect of establishing the “default” interchange rates as
              26       binding on all merchants, including Plaintiffs.
              27               110.     No Surcharge Rules: The No Surcharge Rules prohibit Plaintiffs from
              28       surcharging transactions in which a consumer uses a Visa-branded or MasterCard-branded card.
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                   1   Absent these anticompetitive rules, a merchant could, for example, surcharge a transaction in
                   2   which a consumer uses a premium rewards card that comes with a higher interchange fee than
                   3   other cards. Thus, these rules eliminate a merchant’s incentive and ability to use surcharging as a
                   4   tool to communicate the true cost of certain cards to consumers and gain the benefits of
                   5   competition as to the terms of acceptance with an issuing bank. As of January 27, 2013, Visa and
                   6   MasterCard altered their No Surcharge Rules to permit merchants to surcharge credit card
                   7   customers under limited circumstances. Debit card transactions still may not be surcharged under
                   8   the rule modification. Changes to the No Surcharge Rules for credit cards implemented after
                   9   January 27, 2013 have not eliminated the anticompetitive effects or the injuries Plaintiffs continue
              10       to suffer. Even as modified, the No Surcharge Rules prohibit a merchant from surcharging based
              11       on the identity of the card issuer. Moreover, the rules allow merchants to surcharge only if other
              12       payment networks allow surcharging. Because American Express does not allow surcharging, the
              13       narrow exception in Visa and MasterCard’s rules has no practical effect for any merchant that
              14       accepts American Express, a number that accounts for roughly 90% of U.S. transaction volume.
              15              111.    The effect of the No Surcharge Rules is to completely eliminate all actual and
              16       potential price and non-price competition among issuing banks, harming merchants and
              17       consumers alike. This also has the effect of establishing the “default” interchange rates as
              18       binding on all merchants, including Plaintiffs.
              19              112.    The above Competitive Restraints, individually and in combination, as well as a
              20       variety of other rules and regulations enforced by Visa and MasterCard and their affiliate banks,
              21       restrain issuing banks from competing for merchant acceptance of network services, thereby
              22       eliminating all competition for network services. Absent these rules, the markets for General
              23       Purpose Credit Card Network Services and General Purpose Debit Card Network Services would
              24       be competitive, resulting in lower interchange fees and better and more innovative products and
              25       services for both cardholders and merchants. Plaintiffs would benefit from this competition by
              26       paying lower fees and enjoying other more favorable terms for accepting and/or promoting use of
              27       an issuing bank’s cards. As a result, Plaintiffs and other merchants’ costs would fall, enabling
              28       lower prices for consumers, including Visa and MasterCard cardholders. Superior card and
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                   1   network products, such as chip-and-PIN authentication, would provide increased security and
                   2   other benefits to both cardholders and merchants.
                   3              113.   The Competitive Restraints and the collective setting of interchange fees are not
                   4   reasonably necessary to accomplish any legitimate efficiency-generating objectives. Further,
                   5   there are numerous alternative means that are less harmful to competition by which any such
                   6   objectives could be reasonably accomplished. The effect of the Competitive Restraints is to
                   7   completely eliminate actual and potential price and non-price competition among issuing banks,
                   8   harming merchants and consumers alike.
                   9              114.   Since their restructurings, although Visa and MasterCard have held themselves out
              10       to be “independent companies,” they have continued to act in concert with their (largely
              11       overlapping) affiliates to use their market power to benefit affiliate banks and themselves alone
              12       by adopting practices with the purpose and having the effect of reinforcing their conspiracy and
              13       combination. They have done so by continuing to pursue a business model that eliminates all
              14       incentives for competition, deprives consumers of the benefits of choice and competition, and
              15       imposes a tax on merchants, cardholders, and the economy at large to gain supracompetitive
              16       profits.
              17       The Debit Card Market
              18                  115.   At or around the time the damages period began, Visa possessed monopoly power
              19       in the market for General Purpose Debit Card Network Services, as is evidenced by its conduct,
              20       the structural characteristics of the market, and its market share, as well as other direct and
              21       circumstantial evidence. Visa and its affiliate banks engaged in additional conduct to impede and
              22       exclude competition with the purpose and effect of conferring and maintaining Visa’s monopoly
              23       power in the market for General Purpose Debit Card Network Services. As set forth more fully
              24       below, this included exclusive agreements between Visa and issuing banks of Visa General
              25       Purpose Debit Cards and the imposition of fixed network fees to blunt competition in the market
              26       for General Purpose Debit Card Network Services. These exclusionary acts have suppressed and
              27       continue to suppress competition in the market for General Purpose Debit Card Network
              28       Services, and thereby have enabled Visa and its affiliate banks to charge supracompetitive
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                   1   interchange fees and Visa to charge higher network fees than they otherwise would have been
                   2   able to charge to merchants.
                   3          116.    Visa’s monopoly power in the market for General Purpose Debit Card Network
                   4   Services is protected by high barriers to entry and network effects, which Visa seeks to maintain
                   5   and reinforce by its conduct. To be a viable payment network competitor, a potential entrant
                   6   would need both (a) widespread, if not ubiquitous, merchant acceptance, and (b) large-scale
                   7   distribution to consumers through issuing banks. While each poses a formidable barrier in its
                   8   own right, the economic reality is that a new entrant must clear both barriers simultaneously.
                   9   Merchants are generally unwilling to accept a payment card brand that is carried by few
              10       cardholders, and cardholders are generally unwilling to carry a payment card brand that is not
              11       widely accepted by merchants. Therefore, starting a new network, whether debit or credit, with
              12       sufficient scale to challenge Visa or MasterCard is extremely difficult. These high barriers to
              13       entry, coupled with the entrenched dominance of Visa and MasterCard, explain in large part why
              14       no meaningful entry has occurred in the General Purpose Debit Card (and Credit Card) Network
              15       Services markets since Discover entered three decades ago in 1985.
              16              117.    In addition to its anticompetitive conduct and the structural characteristics of the
              17       market for General Purpose Debit Card Network Services, Visa’s market share further evidences
              18       Visa’s monopoly power in this market. At or around the time the damages period began, Visa’s
              19       share of the market for General Purpose Debit Card Network Services was approximately 60%, as
              20       it comprised 80% of the signature debit card segment and was increasing its PIN debit card share
              21       through agreements with the largest issuing banks of General Purpose Debit Cards. By early
              22       2004, Visa had entered into long-term exclusive agreements with most of its large issuing banks
              23       that “prevent[ed] Visa banks from switching to MasterCard” which, at the time, was the only
              24       other signature debit card network. United States v. Visa U.S.A. Inc., No. 98-cv-7076(BSJ), 2007
              25       WL 1741885, at *2 (S.D.N.Y. June 15, 2007). Accordingly, Visa “essentially lock[ed] up 89% of
              26       the volume of its top 100 debit Issuers.” Id. at *1. Those deals and the installed base of Visa and
              27       Interlink-branded General Purpose Debit Cards enabled Visa to maintain its monopoly power
              28
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                   1   even after it was forced to relinquish the tying rule by the antitrust settlements in the In re Visa
                   2   Check/MasterMoney Antitrust Litigation, No. 96-cv-5238(JG) (E.D.N.Y.).
                   3            118.   By 2005, Visa’s Interlink became the leading PIN debit card network with 36% of
                   4   that segment of the market for General Purpose Debit Card Network Services. Visa maintained
                   5   that position in PIN debit, along with its dominant position in signature debit, through various
                   6   exclusive deals with debit issuing banks. These deals, entered on exclusive or near-exclusive
                   7   terms, made Visa’s Interlink the exclusive or primary PIN debit card acceptance mark on well
                   8   over 100 million debit cards. These deals gave Visa the power to raise Interlink’s interchange
                   9   fees because, even if a merchant tried to drop Interlink and its high rates, the merchant would pay
              10       more as transactions defaulted to the still pricier Visa signature debit card rates. There were no
              11       other options on many Visa General Purpose Debit Cards. This exclusivity on many such cards
              12       remained intact until April 2012, when Federal Reserve regulations mandated that General
              13       Purpose Debit Card issuing banks add a competing network’s functionality on their debit cards.
              14                119.   As Visa continued to drive up Interlink interchange fees, the competing PIN debit
              15       card networks were forced to raise their rates to compensate for declining volume in a market that
              16       had long been dominated by Visa. The result was the convergence of PIN debit card and
              17       signature debit card rates at high ad valorem prices, a trend that contributed significantly to the
              18       suppression of PIN debit card acceptance in the United States, a longstanding Visa objective.
              19       With signature debit card and PIN debit card interchange fees coming into alignment, merchant
              20       willingness to install PIN pads to accept PIN debit cards was materially reduced. Because of
              21       Visa’s exercise of its monopoly power, merchants were forced to pay market-wide effective
              22       interchange fee increases of an estimated 234% between 1998 and 2006.
              23                120.   By 2010, when Congress passed the Durbin Amendment, Visa’s power in the
              24       market for General Purpose Debit Card Network Services was evidenced by the higher
              25       interchange fees associated with signature debit than PIN debit resulting from and bolstered by
              26       Visa’s exclusive (signature and/or PIN debit) agreements with many of the largest debit issuing
              27       banks.
              28
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                   1          121.    The Durbin Amendment threatened both for two reasons. First, the regulations
                   2   capped General Purpose Debit Card interchange fees for large banks, and the cap did not
                   3   distinguish between signature debit card interchange fees and PIN debit card interchange fees.
                   4   Second, the Durbin Amendment repealed Visa’s exclusive deals with issuing banks by requiring
                   5   that all General Purpose Debit Cards allow transaction processing over an unaffiliated network.
                   6   That requirement subjected Visa to potential competition to reduce interchange fees and network
                   7   fees to win merchant routing decisions. Many commentators observed that Visa could lose
                   8   significant portions of its transaction volume, and at least one concluded that up to 80% of its PIN
                   9   debit volume was at risk.
              10              122.    Visa responded by implementing a fixed fee known as the Fixed Acquirer
              11       Network Fee (“FANF”) effective April 2012, which applies to the acceptance of Visa-branded
              12       products and is based on the size and number of the merchant’s locations. The FANF is
              13       effectively a fee merchants must pay to be a part of the Visa network. This new fee is nothing
              14       more than a creative and anticompetitive mechanism for penalizing merchants for routing debit
              15       transactions over any rival debit network.
              16              123.    If a merchant accepts any Visa general purpose payment card transactions, credit
              17       or debit, the merchant must pay this fixed fee to “access” Visa’s networks and, perversely, the
              18       more locations the merchant operates, the greater the fee it has to pay. This construct restores the
              19       tie between General Purpose Debit Card acceptance and General Purpose Credit Card acceptance
              20       that Visa previously utilized as the linchpin of its strategy to dominate the General Purpose Debit
              21       Card Network Services market. The only way merchants can avoid the fee is to drop all Visa
              22       products (which merchants can never do because of an unacceptable loss of sales), and the only
              23       way merchants can mitigate the fee is to route their General Purpose Debit Card volume to Visa.
              24              124.    The FANF further penalizes a merchant for routing a transaction over a competing
              25       PIN debit network. If the merchant did this, then it would not be able to reduce its fixed fee by
              26       shifting volume from Visa. In fact, because the merchant must pay Visa’s fixed fee whether it
              27       routes the transaction to Visa or not, the merchant will, in effect, pay twice for transactions routed
              28       over competing PIN debit networks — an up-front payment to Visa simply to be a part of the
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                   1   Visa network, and a second payment to a competing PIN debit network for any particular
                   2   transaction not routed to Visa.
                   3            125.   Visa was able to successfully implement and enforce the FANF only through its
                   4   monopoly power and exercise thereof. Visa uses the FANF to maintain its monopoly power by
                   5   compromising the PIN debit networks’ ability to compete and neutralizing the competitive
                   6   dynamic the Durbin Amendment was intended to introduce. While Visa leveraged its power in
                   7   the General Purpose Credit Card Network Services market to distort competition in the General
                   8   Purpose Debit Card Network Services market with the FANF, the rival PIN debit networks
                   9   cannot do that. If they tried to implement such a fee, merchants would stop accepting their
              10       General Purpose Debit Cards. Visa has maintained its monopoly power not because it has
              11       superior General Purpose Debit Card networks, but because it has the power to exclude
              12       competition and maintain and impose supracompetitive fixed fees.
              13                126.   Visa’s conduct severely foreclosed competition from PIN debit card networks and
              14       cemented Visa’s market power. As a result of this conduct, Visa’s share of the General Purpose
              15       Debit Card Network Services market remains monopolistic and is poised to increase. Visa’s
              16       ability to impose supracompetitive Fixed Network Access Fees reflects its continuing monopoly
              17       power.
              18       The EMV Migration
              19                127.   In addition to Visa’s exclusive deals and imposition of the FANF, Visa and
              20       MasterCard have harmed cardholders and merchants in the General Purpose Credit Card Network
              21       Services and General Purpose Debit Card Network Services markets by forcing the use of inferior
              22       products protected by Defendants’ market power and restraints on trade. One example of this is
              23       Visa and MasterCard’s perpetuation of their own highly profitable and fraud-prone offerings, and
              24       subsequent forced migration to their own proprietary EMV technology.
              25                128.   Initially, Visa and MasterCard conspired to block EMV chip technology in order
              26       to protect and profit from their own decades old “magnetic stripe” technology and signature
              27       authenticated cards. Throughout the damages period, Visa and MasterCard have acted to keep
              28       these inferior products in place in order to maintain their supracompetitive profits that are
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                   1   tethered to this technology. Visa and MasterCard’s success in forcing merchants and consumers
                   2   to accept and use technologically-inferior products—including products that Visa and MasterCard
                   3   knew would increase fraud—is further evidence of their substantial market power. Visa and
                   4   MasterCard have also used the cost of fraud to justify their supracompetitive interchange and
                   5   other fees.
                   6          129.    Congress passed the Durbin Amendment in 2010, eliminating the distinction in
                   7   interchange fees between signature debit transactions and PIN debit transactions. This effectively
                   8   imposed a cap on interchange fees for debit card transactions. Furthermore, competitors began
                   9   developing their own lines of signature-based payment systems and alternative “PINless” forms
              10       of payment, threatening Visa and MasterCard’s market power in the General Purpose Credit Card
              11       Network Services and General Purpose Debit Card Network Services markets.
              12              130.    Visa and MasterCard changed gears in response. Through the exercise of their
              13       substantial market power, the card networks formulated and executed a plan forcing a mass
              14       migration to the EMV platform within a very limited timeframe. Visa and MasterCard knew this
              15       timeframe would not afford enough time for merchants to comply. Visa and MasterCard
              16       enforced this strict deadline by announcing that by October 2015, the card networks would begin
              17       shifting liability for fraudulent transactions from the issuing banks onto merchants that did not
              18       fully adopt and integrate the new EMV platform. Visa and MasterCard forced merchants to
              19       undertake this massive expenditure of replacing their current point-of-sale hardware and software
              20       with new EMV terminals which would cost billions of dollars. In the scramble and disarray that
              21       ensued to meet this deadline, Visa and MasterCard ensured that their own proprietary EMV
              22       technology without requiring the use of PIN authentication became the new industry standard.
              23              131.    Visa and MasterCard conspired and executed their scheme by meeting regularly
              24       under the auspices of an entity called EMVCo. EMVCo, however, was a vehicle through which
              25       Visa and MasterCard have colluded to maintain their market dominance and to eliminate
              26       competition from rival PIN networks by favoring their own less secure signature-based systems
              27       and refusing to prioritize PIN authentication. Visa and MasterCard also organized their conduct
              28       by using issuing banks as conduits for relaying strategic information to one another.
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                   1          132.    During the mass migration to EMV, Visa and MasterCard implemented and forced
                   2   the industry to adopt their own EMV technology that utilized signature verification. Even though
                   3   Visa and MasterCard knew, and still know now, that signature verification is less secure and more
                   4   fraud prone than chip-and-PIN authorization, Visa and MasterCard profit far more from routing
                   5   transactions over the signature authentication based networks that they control, which carry
                   6   higher interchange fees.
                   7          133.    Because of Visa and MasterCard’s concerted actions, both credit and debit
                   8   transactions are routed over Visa or MasterCard’s inferior signature-based network where a PIN
                   9   is not required. These transactions are therefore less secure, more prone to fraud, and Visa and
              10       MasterCard continue to maintain market power and increase their profits. No legitimate business
              11       justification or procompetitive reasons exist for Defendants’ refusal to implement and promote
              12       PIN authentication. Chip-and-PIN verification is commonly recognized in the industry, and even
              13       internally among Visa, MasterCard and their affiliate banks, as the more secure platform.
              14       Defendants have nonetheless exercised their market power to force merchants to use Visa and
              15       MasterCard’s propriety EMV technology with signature-verification over chip-and-PIN
              16       technology. Visa and MasterCard continue to reap supracompetitive profits as a result.
              17              134.    Furthermore, Defendants have gone to great lengths to consolidate their control
              18       over the General Purpose Debit Card Network Services market. For example, when the EMV
              19       shift was announced, the industry had prepared and was ready to implement open architecture
              20       software within the EMV chip cards which would allow merchants the ability to route their debit
              21       transactions through any payment networks, including those of Visa, MasterCard, Discover, or
              22       any other PIN debit network. This would have resulted in vigorous competition within the
              23       General Purpose Debit Card Network Services among the various PIN debit networks market to
              24       provide these services, and merchants would have had the ability to select among lower cost
              25       forms of debit payment processing.
              26              135.    Visa and MasterCard instead conspired and took action to block open architecture
              27       technology by imposing their own proprietary EMV technology with inferior signature-based
              28       authorization. In 2013, Visa and MasterCard entered into reciprocal cross-licensing agreements
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                   1   which promoted and propagated each other’s proprietary EMV technologies. Visa and
                   2   MasterCard further agreed not to compete with one another’s signature-based debit transactions.
                   3          136.      With these agreements in place, Visa and MasterCard approached issuing banks
                   4   and presented their own EMV technologies as complete “solutions” to meet the impending
                   5   October 2015 liability-shift deadline. Furthermore, Visa and MasterCard threatened to drop
                   6   issuing banks from their general purpose payment card networks if the issuing banks did not
                   7   persuade competing debit networks to abandon open architecture technology. Issuing banks were
                   8   forced to comply because they derive significant income from the issuance of Visa and
                   9   MasterCard-branded general purpose payment cards and cannot afford to lose this volume of
              10       business. By 2014, competing debit networks were forced to license Visa and MasterCard’s
              11       proprietary EMV technology under pressure from issuing banks.
              12              137.      Under Visa and MasterCard’s proprietary EMV technology, customers insert a
              13       chip-based debit card into a new terminal and are often offered only Visa’s (or only
              14       MasterCard’s) network as a choice. In the instances where customers do have multiple options,
              15       the options are “Visa debit” (or “MasterCard debit”) and “U.S. debit.” Since most consumers do
              16       not know what “U.S. debit” is (which is how Visa and MasterCard have opted to display other
              17       PIN networks in order to confuse consumers) customers usually pick Visa or MasterCard. Visa
              18       and MasterCard have used consumers’ lack of knowledge to circumvent the Durbin
              19       Amendment’s goal of providing merchants with routing choice. Visa and MasterCard have
              20       further perpetuated their market power by making it difficult for merchants to override this
              21       configuration.
              22              138.      Visa’s monopoly power in the market for General Purpose Debit Card Network
              23       Services, and its exercise of that power thereof, enabled Visa to effectuate these changes. During
              24       the shift to EMV, MasterCard had originally planned to implement its own EMV technology
              25       independent of Visa. MasterCard, however, had a weaker position in the market, and Visa
              26       persuaded MasterCard to instead align with Visa’s strategy of reciprocal cross-licensing
              27       agreements and agreements not to compete with one another’s signature debit transactions.
              28       MasterCard agreed because this would allow MasterCard to become the second, unaffiliated
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                   1   network on Visa General Purpose Debit Cards, enabling MasterCard to gain most of the debit
                   2   card transactions that were not routed to Visa. Visa’s ability and success in aligning MasterCard
                   3   with its strategy to monopolizing the General Purpose Debit Card Network Service market is
                   4   direct evidence of Visa’s monopoly in this market. Visa’s ability to force issuing banks and
                   5   competing debit networks to adopt its own proprietary and less secure EMV technology is further
                   6   evidence of Visa’s monopoly power in the market for General Purpose Debit Card Network
                   7   Services.
                   8                                    THE RELEVANT MARKETS
                   9   The Relevant Product Markets
              10              139.    The Court need not define any relevant market in this case because Visa and
              11       MasterCard’s conduct constitutes per se unlawful horizontal price fixing and horizontal restraints
              12       of trade involving agreement among competitors not to compete. They are presumptively,
              13       unreasonably anticompetitive, and that presumption is irrebuttable.
              14              140.    The Court also need not define a relevant market here because the conduct at issue
              15       is horizontal and there exists direct evidence of actual adverse effects on competition. See Ohio
              16       v. Am. Express Co., 138 S. Ct. 2274, 2285 n.7 (2018); FTC v. Indiana Fed’n of Dentists, 476 U.
              17       S. 447, 460-61 (1986).
              18              141.    However, if this court were to conclude that the horizontal restraints are not per se
              19       violations and that the direct evidence of adverse effects on competition is insufficient, Plaintiffs
              20       allege that the relevant product markets would be the market for General Purpose Credit Card
              21       Network Services and the market for General Purpose Debit Card Network Services, or in the
              22       alternative, a relevant product market that encompasses (a) both the issuance of General Purpose
              23       Credit Cards to cardholders and the provision of credit card network services to merchants, and
              24       (b) both the issuance of General Purpose Debit Cards to cardholders and the provision of debit
              25       card network services to merchants, respectively.1
              26              1
                                To the extent necessary, all references, both infra and supra, to the “General Purpose
                       Credit Card Network Services” and “General Purpose Debit Card Network Services,” refer to the
              27       alternative relevant product markets that encompass (a) both the issuance of General Purpose
                       Credit Cards to cardholders and the provision of credit card network services to merchants, and
              28       (Continued...)
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                   1          142.    General Purpose Credit Cards and General Purpose Debit Cards are not reasonably
                   2   interchangeable with each other or with other forms of payment.
                   3          143.    General Purpose Credit Card Network Services is a relevant product market. A
                   4   credit or charge card is not interchangeable with a debit card or other form of payment. Many
                   5   cardholders desire the ability to access a line of credit, defer payment, or obtain other features
                   6   offered by the credit cards. Many merchants prefer credit cards to debit cards because they can
                   7   be used to provide security deposits, for instance for rental cars and hotel rooms, which debit
                   8   cards cannot as easily provide. For this reason, Plaintiffs and other merchants cannot discontinue
                   9   acceptance of credit cards, even in the face of high or increasing interchange fees, without losing
              10       sales. The availability of debit cards or other forms of payment do not constrain the ability of
              11       Visa, MasterCard, and their affiliate banks to impose higher charges on merchants for acceptance
              12       of credit or charge cards. In fact, credit card payments have not declined even though interchange
              13       fees are lower on debit cards, further showing that credit and debit cards are not in the same
              14       relevant market.
              15              144.    General Purpose Debit Card Network Services is also a relevant product market.
              16       Debit cards are not reasonably interchangeable with credit or charge cards or other forms of
              17       payment. Unlike credit and charge cards, debit cards must be linked to a bank account, or
              18       prepaid, and do not provide cardholders with a line of credit. When a debit card is used, the funds
              19       are withdrawn from the cardholder’s account either the same day or within a few days.
              20       Consumers may pay with debit cards because they desire to pay for a transaction with
              21       immediately available funds without using cash or checks, or because they do not qualify for
              22       credit or charge cards. Thus, merchants cannot discontinue acceptance of debit cards, and
              23       acceptance of other forms of payment do not constrain the ability of Visa, MasterCard, and their
              24       affiliate banks to impose higher charges on merchants for accepting debit cards.
              25

              26
                       ________________________
              27       (b) both the issuance of General Purpose Debit Cards to cardholders and the provision of debit
                       card network services to merchants, respectively.
              28
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                   1           145.    Debit cards are also regulated separately and differently from credit and charge
                   2   cards. In 2011, pursuant to the Durbin Amendment, the Federal Reserve Board imposed a
                   3   maximum level for debit card interchange fees charged by large banks. The legislation did not
                   4   mandate that the Federal Reserve Board regulate interchange fees charged in connection with
                   5   credit or charge card transactions. Even when the Federal Reserve Board significantly reduced
                   6   the interchange fees on debit transactions, few if any merchants chose to stop accepting Visa
                   7   credit cards and accept only debit cards instead. This further establishes that merchant acceptance
                   8   of debit cards is a market separate from merchant acceptance of credit and charge cards.
                   9           146.    Furthermore, General Purpose Credit Card Network Services and General Purpose
              10       Debit Card Network Services are not reasonably interchangeable with the issuance of General
              11       Purpose Credit Cards to cardholders and the issuance of General Purpose Debit Cards to
              12       cardholders, respectively. The card issuance services defendants provide to cardholders are not
              13       reasonably close substitutes for the network services defendants provide to merchants. For
              14       example, a merchant facing an increase in defendants’ interchange fees above the competitive
              15       level could not avoid these fees by becoming a Visa or MasterCard cardholder instead of a
              16       merchant that accepts Visa or MasterCard payment cards. The relevant product markets are the
              17       markets for General Purpose Credit Card Network Services and General Purpose Debit Card
              18       Network Services because of this lack of interchangeability between payment card issuance
              19       services to cardholders and payment card network services to merchants.
              20               147.    In American Express, the Second Circuit explicitly distinguished its earlier
              21       decision in Visa where the court had found that, as Plaintiffs allege here, the relevant markets for
              22       network services and issuance of general purpose credit cards were distinct. See United States v.
              23       Am. Express Co., 838 F.3d 179, 198 (2d Cir. 2016) (“The relevant market in this case is not the
              24       same as the relevant market in Visa.”) (citing United States v. Visa U.S.A., Inc., 344 F.3d 229 (2d
              25       Cir. 2003). As the Second Circuit also held, the relevant markets in Visa were rightfully viewed
              26       as distinct because the horizontal restraints at issue there, as is also true of the markets in this
              27       case, were markedly different from the vertical restraints at issue in American Express. See id.
              28       Relying on long-standing antitrust law, the U.S. Supreme Court affirmed that a court need not
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                   1   define a relevant market where the conduct at issue concerns horizontal restraints involving
                   2   agreement among competitors not to compete (which is the case here) as opposed to vertical
                   3   restraints that were at issue in American Express. See Ohio v. Am. Express Co., 138 S. Ct. 2274,
                   4   2285 n.7 (2018). Visa and MasterCard’s IPOs did not effectuate a change in the horizontal
                   5   character of Defendants’ Competitive Restraints and did not alter the substance of the
                   6   Competitive Restraints, which remain intact today. Visa and its affiliate banks have, post-IPO,
                   7   persisted in facilitating and enforcing horizontal agreements among themselves to continue to
                   8   adhere to and enforce “default” interchange fees and the Competitive Restraints. Likewise,
                   9   MasterCard and its affiliate banks have, post-IPO, persisted in facilitating and enforcing
              10       horizontal agreements among themselves to continue to adhere to and enforce “default”
              11       interchange fees and the Competitive Restraints.
              12       The Relevant Geographic Markets
              13               148.    The relevant geographic market for the General Purpose Credit Card Network
              14       Services market is the United States and its territories.
              15               149.    The relevant geographic market for the General Purpose Debit Card Network
              16       Services market is the United States and its territories.
              17               150.    The “default” interchange fees are set by Visa and MasterCard on a national basis.
              18       Similarly, the Competitive Restraints are specific to the United States and its territories.
              19               151.    Plaintiffs operate throughout the United States. The Competitive Restraints
              20       imposed on them require that all of their outlets throughout the United States accept all cards of
              21       all issuing banks that are affiliates of Visa or MasterCard at “default” interchange fees.
              22               152.    Visa and MasterCard, and many of their issuing banks, advertise nationally and
              23       pursue promotional strategies aimed at the United States as a whole.
              24                                                MARKET POWER
              25               153.    Visa and its issuing banks have market power in the relevant markets for General
              26       Purpose Credit Card Network Services and General Purpose Debit Card Network Services in the
              27       United States and its territories.
              28
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                   1          154.    Courts have previously found that Visa had market power in the market for credit
                   2   card network services with between 43% and 47% of the market and high barriers to entering the
                   3   relevant product market. Visa’s market share has since risen to 50% in 2016.
                   4          155.    Visa’s conduct is also direct evidence of its market power and that of its issuing
                   5   banks. Interchange fees are set by Visa and its affiliate banks on behalf of its issuing banks. Visa
                   6   promulgates and enforces the Competitive Restraints, which are agreed upon by its affiliate banks
                   7   and prevent competition among its issuing banks for merchant acceptance. Absent the
                   8   Competitive Restraints, Visa’s credit card issuing banks would be able to compete as to the terms
                   9   of merchant acceptance, including interchange fees, and Plaintiffs would benefit through lower
              10       interchange fees and other benefits from competition.
              11              156.    Visa’s ability to maintain “default” credit interchange fees agreed upon by its
              12       affiliate banks demonstrates Visa’s market power. Effective credit card interchange fees have
              13       risen over time, even as the costs of issuing credit cards have fallen for its affiliate banks and even
              14       as interchange fees for debit cards have fallen. Despite these increases, merchants have not
              15       stopped accepting Visa-branded credit cards. Visa’s ability to discriminate in price among
              16       merchants by distinguishing merchants by size and retail category and by differentiating
              17       transactions by size and cards by type, in conjunction with the characteristics of the market and
              18       Visa’s other conduct, is further evidence of Visa’s market power in the General Purpose Credit
              19       Card Network Services market.
              20              157.    Visa’s market power in the General Purpose Credit Card Network Services market
              21       is also demonstrated by the fact that, when the Federal Reserve Board significantly reduced the
              22       interchange fees on debit transactions, few if any merchants chose to stop accepting Visa credit
              23       cards and accept only debit cards instead. Nor did Visa reduce its credit card interchange fees to
              24       more closely match the regulated interchange fees established for debit cards. In 2012, the first
              25       full year after implementation of the reduced interchange fees on debit transactions, Visa credit
              26       card transactions and purchase volume increased.
              27              158.    Competition with MasterCard does not eliminate Visa’s exercise of market power
              28       in the market for General Purpose Credit Card Network Services. Before their respective IPOs,
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                   1   Visa and MasterCard adopted rules that limited competition for merchant acceptance of network
                   2   services. After their respective IPOs, Visa and MasterCard’s membership, rules, and their power
                   3   to obtain high interchange fees from merchants have not changed and continue to constrain
                   4   competition among and between Visa, MasterCard, and the affiliate banks of both combinations.
                   5   The similarities between Visa and MasterCard’s Competitive Restraints and interchange fees are
                   6   more than simply coincidental parallel behavior. The affiliates of both networks overlap
                   7   substantially, and the same banks have often been represented at some time on both Defendants’
                   8   boards of directors. The affiliates and leadership of both Defendants are intimately familiar with
                   9   the workings of the other and collectively set and enforce rules and fees in line with each other.
              10       Absent such collusion, each network would seek to compete with the other through lower fees
              11       and/or better service. In fact, though, the services provided by Visa and MasterCard are
              12       practically indistinguishable and their fees consistently remain aligned, with similar fee
              13       structures, and synchronized fee increases.
              14              159.    MasterCard and its issuing banks have market power in the market for General
              15       Purpose Credit Card Network Services in the United States.
              16              160.    Courts have found MasterCard’s market share to be sufficient to demonstrate
              17       market power in the markets for General Purpose Credit Card Network Services and General
              18       Purpose Debit Card Network Services.
              19              161.    MasterCard’s conduct is direct evidence of its market power and that of its issuing
              20       banks. Interchange fees are set by MasterCard and its affiliate banks on behalf of its issuing
              21       banks. MasterCard promulgates and enforces the Competitive Restraints, which are agreed upon
              22       by its affiliate banks and prevent competition among its issuing banks for merchant acceptance.
              23       Absent the Competitive Restraints, MasterCard’s credit card issuing banks would be able to
              24       compete as to the terms of merchant use of their network services, including interchange fees, and
              25       Plaintiffs would benefit through lower interchange fees and other benefits from competition.
              26              162.    MasterCard’s ability to maintain “default” credit interchange fees agreed upon by
              27       its affiliate banks demonstrates its market power. Effective credit card interchange fees have
              28       risen over time, even as the costs of issuing credit cards have fallen for its affiliate banks and even
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                   1   as interchange fees for debit cards have fallen. Despite these increases, merchants have not
                   2   stopped accepting MasterCard-branded credit cards. Further, MasterCard’s market power is
                   3   demonstrated by its ability to discriminate in price among merchants, by distinguishing merchants
                   4   by size and retail category, and by differentiating transactions by size and cards by type.
                   5          163.     Competition with Visa does not eliminate MasterCard’s exercise of market power
                   6   in the market for General Purpose Credit Card Network Services, as set forth more fully above.
                   7   Before their respective IPOs, Visa and MasterCard adopted rules that limited competition for
                   8   merchant acceptance. After their respective IPOs, Visa and MasterCard’s membership, rules, and
                   9   their power to obtain high interchange fees from merchants have not changed and continue to
              10       constrain competition among and between Visa, MasterCard, and the affiliates of both
              11       combinations.
              12              164.     There are also significant barriers to entry into the market to provide General
              13       Purpose Credit Card Network Services, as corroborated by the court in Visa USA, Inc., 163 F.
              14       Supp. 2d at 341. Visa’s former CEO described starting a new card network as a “monumental”
              15       task involving expenditures and investment of over $1 billion. Both AT&T and Citibank
              16       conducted entry analyses, but decided it would be unprofitable to attempt to start a competing
              17       General Purpose Credit Card business.
              18              165.     The difficulties associated with entering the credit card market are exemplified by
              19       the fact that no company has entered since Discover did so in 1985. Discover has never achieved
              20       more than a 7% share of the General Purpose Credit Card Network Services market and its
              21       current share is approximately 4%.
              22              166.     The General Purpose Debit Card Network Services market is also dominated by
              23       Visa and MasterCard. Combined, Visa and MasterCard comprised about 75% of all debit
              24       purchase volume in 2004 and comprise over 80% today. Only Visa, MasterCard, and Discover
              25       allow signature authorization of debit transactions. Visa alone has a 56% share in the General
              26       Purpose Debit Card Network Services market.
              27              167.     Visa and MasterCard, together with their issuing banks, each exercise market
              28       power in the market for General Purpose Debit Card Network Services.
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                   1          168.    Visa participates in and manages a combination comprised of the vast majority of
                   2   issuing banks of debit cards, such that merchants are unable to refuse to accept Visa-branded
                   3   debit cards. This combination of issuing banks, combined with the Competitive Restraints, gives
                   4   Visa market power. Visa has exercised and continues to exercise market power by requiring
                   5   Plaintiffs and other merchants to pay supracompetitive interchange fees and has acquired and
                   6   maintained that power by imposing the Competitive Restraints.
                   7          169.    Visa’s market power in the relevant market is demonstrated by the fact that when
                   8   Visa no longer required merchants to accept its debit cards as a condition of accepting Visa credit
                   9   cards in 2003, there is no evidence that merchants were able to stop accepting Visa debit cards or
              10       to reroute debit transactions to alternative networks despite the availability of lower cost PIN
              11       debit networks. In addition, in 2011, the Federal Reserve Board found that Visa’s debit
              12       interchange rates were significantly above cost. Because of Visa’s Competitive Restraints,
              13       merchants like Plaintiffs cannot gain the benefits of competition among issuing banks for terms of
              14       debit card acceptance.
              15              170.    MasterCard participates in and manages a combination comprised of a significant
              16       fraction of all issuers of debit cards, such that merchants are unable to refuse to accept
              17       MasterCard-branded debit cards. This combination of issuing banks, combined with the
              18       Competitive Restraints, gives MasterCard market power. MasterCard has exercised and
              19       continues to exercise market power by requiring Plaintiffs to pay supracompetitive interchange
              20       fees and by imposing the Competitive Restraints.
              21              171.    MasterCard’s market power over merchants is demonstrated by the fact that, when
              22       the tying arrangement forcing merchants to accept MasterCard debit cards as a condition of
              23       accepting MasterCard credit cards was dropped in 2003, few or no merchants stopped accepting
              24       MasterCard debit cards or rerouted debit transactions over alternative networks despite the
              25       availability of lower cost PIN debit networks. In addition, in 2011, the Federal Reserve Board
              26       found that MasterCard’s debit interchange rates were significantly above cost. Because of
              27       MasterCard’s Competitive Restraints, merchants like Plaintiffs cannot gain the benefits of
              28       competition among issuing banks for terms of debit card acceptance.
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                   1          172.    Visa and MasterCard’s ability to force merchants and consumers to use inferior,
                   2   fraud-prone products is further evidence of their market power in the General Purpose Credit
                   3   Card Network Services and Debit Card Network Services markets. Visa and MasterCard
                   4   protected their supracompetitive profits by imposing outdated magnetic stripe technology and
                   5   fraud-prone signature-based authentication. Visa and MasterCard’s ability to later shift fraud
                   6   liability onto the merchants and force a mass migration to its own proprietary EMV chip platform
                   7   without PIN verification is further evidence of their market power.
                   8          173.    In addition, Visa’s ability to enter into exclusive deals with debit card issuing
                   9   banks, its imposition of the FANF, and its ability to persuade MasterCard to align with Visa’s
              10       EMV strategy of reciprocal cross-licensing agreements and agreements not to compete with one
              11       another’s signature debit transactions, are also direct evidence of Visa’s monopoly power in the
              12       market for General Purpose Debit Card Network Services. Visa alone has a 56% share in the
              13       General Purpose Debit Card Network Services market, constituting further evidence of its
              14       monopoly power in the relevant market.
              15              174.    Plaintiffs allege in the alternative that there may also be relevant product markets
              16       that encompass (a) both the issuance of General Purpose Credit Cards to cardholders and the
              17       provisions of credit card network services to merchants, and (b) both the issuance of General
              18       Purpose Debit Cards to cardholders and the provision of debit card network services to
              19       merchants. Even so, Visa and MasterCard hold and exercise substantial market power in these
              20       markets. Visa and MasterCard together account for over 70% of credit card transactions. Visa
              21       and MasterCard comprise about 75% of all debit purchase volume in 2004 and comprise over
              22       80% today. This market share and resulting cardholder penetration, combined with the
              23       significant barriers to entry in the payment card industry, give Visa and MasterCard the power to
              24       control prices and exclude competition across their payment card platforms. Visa and
              25       MasterCard’s direct ability to raise prices without increasing cardholder rewards or losing
              26       merchant acceptance is direct evidence of Defendants’ market power in an alternative market
              27       encompassing both issuance of payment cards and provision of network services for merchants.
              28       Visa and MasterCard’s ability to impose the Competitive Restraints on merchants without losing
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                   1   merchant acceptance or market share is also direct evidence of the Defendants’ market power
                   2   under this alternative market definition.
                   3                        HARM TO COMPETITION AND TO PLAINTIFFS
                   4          175.    Together with their respective affiliate banks, Visa and MasterCard each use their
                   5   market power to impose supracompetitive collectively fixed interchange fees and the Competitive
                   6   Restraints on Plaintiffs.
                   7          176.    The Competitive Restraints facilitate and reinforce the Defendants’ ability to
                   8   maintain these fixed interchange fees and make it impossible for Plaintiffs, other merchants, and
                   9   consumers to gain the benefits of competition as to the terms of use of General Purpose Credit
              10       Card Network Services and General Purpose Debit Card Network Services, including lower
              11       interchange fees with individual issuing banks or other card networks. The Competitive
              12       Restraints provide a mechanism for issuing banks to avoid competing for the provision of General
              13       Purpose Credit Card Network Services and General Purpose Debit Card Network Services to
              14       merchants. Absent the supracompetitive “default” interchange fees and the other Competitive
              15       Restraints, Plaintiffs would be able to gain the benefits of competition as to interchange fees,
              16       which would reduce them to a competitive level. Any changes to the Competitive Restraints
              17       resulting from prior settlements and enforcement actions have not eliminated the market power of
              18       the combinations and have not curtailed the level or rise in effective interchange fees that
              19       merchants have paid. To the contrary, despite technological advances which have reduced the
              20       costs of issuance and processing, interchange and other fees have increased. Plaintiffs have
              21       therefore paid, and continue to pay, interchange fees far in excess of what they would pay in a
              22       competitive market, and have suffered additional damages in the form of network fees, fines, and
              23       losses from fraud.
              24              177.    The Competitive Restraints prevent merchants from informing consumers of the
              25       availability of less expensive cards and providing discounts to consumers who use less expensive
              26       cards or other less costly means of payment. This in turn eliminates the incentive of issuing
              27       banks to compete for merchant patronage by offering lower fees and improved or enhanced
              28       services.
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                   1          178.    The harm caused to merchants such as Plaintiffs by fixed interchange fees and the
                   2   Competitive Restraints that facilitate and maintain them have not been offset by cardholder
                   3   benefits. Only a small fraction of the increase in interchange fees actually goes to paying the cost
                   4   of the rewards to cardholders. The costs of processing payment card transactions have become
                   5   miniscule, and issuing banks keep most of the interchange revenue as profit rather than
                   6   distributing the funds to cardholders as rewards. Given the profitability of cardholder issuance,
                   7   even if interchange fees were reduced to competitive levels, issuing banks could still fund
                   8   rewards of equal or greater benefit to cardholders. Issuing banks could fund these rewards from
                   9   other sources of revenue derived from cardholder issuance, including, but not limited to, the
              10       interest paid on cardholders’ account balances, annual fees and charges to cardholders, and
              11       penalties for late payment on card balances. Absent fixed interchange fees and the Competitive
              12       Restraints, issuing banks would be forced to compete vigorously for cardholders, which would
              13       result in greater cardholder benefits and increased consumer welfare.
              14              179.    Plaintiffs and other merchants have received no benefits from the higher
              15       interchange fees on reward and premium cards, and any purported benefits that credit and debit
              16       cardholders may receive in the form of “rewards” from issuing banks are far outweighed by the
              17       competitive harm inflicted as a result of the default interchange fees and other anticompetitive
              18       conduct alleged herein. Rewards and premium cards do not increase the overall amounts
              19       cardholders spend with merchants. The Honor All Cards Rules and other restraints nevertheless
              20       force merchants to accept rewards cards with the highest interchange fees, and further prevent
              21       merchants from informing its customers of the availability of lower cost forms of payments and
              22       encouraging their use through incentives, such as discounts.
              23              180.    As a result of Defendants’ anticompetitive conduct, issuing banks have agreed not
              24       to compete with other issuing banks to provide differentiated products and offerings to
              25       cardholders, resulting in higher prices, reduced cardholder choice, reduced product and service
              26       quality, and stunted innovation. Absent Visa and MasterCard’s conduct, issuing banks would
              27       compete vigorously for cardholders and result in differentiation in their offerings, including
              28
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                   1   discounts at the point of sale and further investments in higher quality cardholder services and
                   2   products.
                   3          181.    The competitive void created by Defendants also removes any incentive to
                   4   improve their product and service for both merchants and cardholders. Defendants have, for
                   5   example, purposefully forgone adopting more secure transaction authorization technology in
                   6   order to maximize their own profits while allowing for greater risk of fraud against cardholders
                   7   and merchants, which in turn results in higher interest rates for cardholders. That choice would
                   8   not make rational economic sense in a competitive market place. Defendants’ behavior has
                   9   harmed cardholders and merchants such as Plaintiffs through the provision of inferior products
              10       protected by Defendants’ market power and restraints on trade, which in turn reinforce barriers to
              11       entry that discourage entry, expansion, and innovation.
              12              182.    Visa has used its monopoly power in the market for General Purpose Debit Card
              13       Network Services to enter into exclusive agreements between itself and its affiliate banks, impose
              14       the Fixed Acquirer Network Fee, force issuing banks to adopt its proprietary EMV technology,
              15       and persuade MasterCard to align with its signature-based debit card strategy. Visa’s
              16       exclusionary conduct allowed Visa to charge supracompetitive interchange fees and higher
              17       network fees than it otherwise would have been able to charge but for its anticompetitive acts.
              18       Visa’s anticompetitive behavior has harmed cardholders and merchants such as Plaintiffs in the
              19       market for General Purpose Debit Card Network Services and eliminated competition in the
              20       relevant market.
              21              183.    Visa and MasterCard have also blocked the adoption of more secure transaction
              22       authorization technology in order to maximize their own profits at the expense of greater risk of
              23       fraud against cardholders and merchants. Defendants’ behavior has harmed cardholders and
              24       merchants such as Plaintiffs through provision of inferior products protected by Defendants’
              25       market power and restraints on trade. The competitive void created by Defendants also removes
              26       any incentive for issuing banks to improve products and services for either merchants or
              27       cardholders, stunting innovation and curtailing competition in the relevant markets.
              28
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                   1          184.    Defendants’ anticompetitive conduct during the forced migration to EMV has also
                   2   caused substantial competitive injury in both the General Purpose Credit Card Network Services
                   3   and General Purpose Debit Card Network Services markets. During the EMV shift, Visa and
                   4   MasterCard conspired and acted together to block the adoption of open architecture technology.
                   5   They instead imposed their own proprietary EMV technology with fraud-prone signature
                   6   authorization through agreements not to compete, reciprocal cross-licensing agreements, and
                   7   threatening to drop issuing banks from issuing their general purpose payment cards. By
                   8   eliminating open architecture technology, Visa and MasterCard removed the merchants’ ability to
                   9   shop among the various providers for lower cost forms of debit card processing. Visa and
              10       MasterCard have harmed merchants and cardholders by depriving them of the benefits of
              11       competition among the various PIN debit networks that would have vigorously competed to
              12       provide this service but for Visa and MasterCard’s exclusionary conduct. Defendants’ conduct
              13       further caused competitive injury in both the credit and debit card markets through
              14       supracompetitive interchange fees based on fraud prone signature-based offerings.
              15              185.    Absent Defendants’ anticompetitive conduct, cardholders and merchants such as
              16       Plaintiffs would benefit through lower fees and reduced risk of fraud. The increased amount of
              17       both because of Visa and MasterCard’s conspiracy are damages due to unlawful behavior.
              18              186.    Throughout the relevant time period and no later than January 1, 2004, Plaintiffs
              19       have accepted Visa-branded and MasterCard-branded credit and debit cards. Accordingly,
              20       Plaintiffs have been forced to abide by Visa and MasterCard’s unlawful Competitive Restraints,
              21       have been forced to pay supracompetitive interchange fees, have suffered increased instances of
              22       payment card fraud, and have suffered other related harm.
              23                               TOLLING OF STATUTE OF LIMITATIONS
              24              187.    The statute of limitations has been tolled for all merchants that are putative
              25       members of the class action initiated, by information and belief, in Photos Etc. Corp. v. Visa
              26       U.S.A., Inc., 3:05-cv-01007-WWE (D. Ct. Jun. 22, 2005). Because Plaintiffs fall within that
              27       class, the statute of limitations has been tolled since at least June 22, 2005.
              28
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                   1                                        CLAIMS FOR RELIEF
                   2                                     FIRST CLAIM FOR RELIEF
                   3     Visa’s Unlawful Horizontal Price Fixing in the Market for General Purpose Credit Card
                                     Network Services in Violation of Section 1 of the Sherman Act
                   4
                                                                   (Against Visa)
                   5
                              188.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   6
                       through 187 as if fully rewritten herein.
                   7
                              189.    Visa and its affiliate banks are engaged in concerted action within the meaning of
                   8
                       Section 1 of the Sherman Act. Visa’s fixing of interchange fees and its adoption of the
                   9
                       Competitive Restraints, as alleged above, constitute horizontal agreements among Visa and its
              10
                       affiliates both prior to and after Visa’s reorganization and IPO. Visa has served and continues to
              11
                       serve as the ringleader of a cartel that fixes prices and otherwise limits competition among the
              12
                       Visa bank affiliates of the combination through the agreed-upon rules governing the credit cards.
              13
                       Accordingly, by these arrangements, Visa has facilitated and continues to facilitate a horizontal
              14
                       agreement among its affiliates and itself. Absent this agreement, the affiliates would compete in
              15
                       the market for General Purpose Credit Card Network Services.
              16
                              190.    Additionally, Visa’s rules and related contracts entered into before the Visa IPO
              17
                       constituted a conspiracy or conspiracies to eliminate competition and fix prices from which Visa
              18
                       and its affiliate banks have never withdrawn. In changing its corporate form at the time of the
              19
                       IPO, Visa did not take any affirmative action to end the conspiracy or its existing anticompetitive
              20
                       arrangements, either by communicating to its affiliates a decision to withdraw from the rules and
              21
                       agreements with its affiliates or by taking any other steps to effectuate withdrawal from the rules
              22
                       and agreements. Nor did its affiliates take any steps to withdraw from the rules and agreements
              23
                       or take any other steps to effectuate withdrawal from the rules and agreements.
              24
                              191.    Each conspiracy increased and maintained the interchange fees that Plaintiffs and
              25
                       other merchants paid for Visa General Purpose Credit Card transactions, and it imposed
              26
                       additional damages in the form of network fees, fines, and losses from fraud. These price
              27

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                   1   increases were the products of the agreement among Visa and its affiliate banks that the banks
                   2   will not compete in the market for General Purpose Credit Card Network Services.
                   3          192.    Visa has further engaged in unreasonable horizontal restraints in the market for
                   4   General Purpose Credit Card Network Services before and during the forced industry migration to
                   5   EMV technology by imposing its own inferior and fraud-prone offerings such as magnetic strip
                   6   technology and signature-based authorization instead of the more secure chip-and-PIN
                   7   verification. Visa’s anticompetitive conduct has had the purpose and effect increasing fraud and
                   8   supracompetitive interchange fees.
                   9          193.    The price-fixing conspiracy and related agreements not to compete are per se
              10       unlawful under Section 1 of the Sherman Act.2
              11              194.    Even in the event that each price-fixing conspiracy and related agreements are not
              12       presumed to be unreasonably anticompetitive and hence per se unlawful, they were still
              13       unreasonable restraints of trade in violation of Section 1 of the Sherman Act. As alleged above,
              14       Visa and its affiliates have market power in the market for General Purpose Credit Card Network
              15       Services and have exercised that market power with anticompetitive effects. Further, the alleged
              16       scheme served no legitimate business purpose, and achieved no legitimate efficiency benefit to
              17       eliminate its substantial anticompetitive effects.
              18              195.    Plaintiffs suffered antitrust injury from these unlawful restraints of trade.
              19              196.    As a direct and proximate result of these violations of Section 1 of the Sherman
              20       Act throughout the damages period, Plaintiffs have been injured in their business and property in
              21       an amount to be determined at trial.
              22       ///
              23       ///
              24       ///
              25       ///
              26              2
                                This is true whether or not the relevant market is defined as a market that encompasses
              27       both the issuance of General Purpose Credit Cards to cardholders and the provision of credit card
                       network services for merchants because competitive harm is presumed.
              28
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                   1                                   SECOND CLAIM FOR RELIEF
                   2   MasterCard’s Unlawful Horizontal Price Fixing in the Market for General Purpose Credit
                                Card Network Services in Violation of Section 1 of the Sherman Act
                   3
                                                             (Against MasterCard)
                   4
                              197.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   5
                       through 196 as if fully rewritten herein.
                   6
                              198.    MasterCard and its affiliate banks are engaged in concerted action within the
                   7
                       meaning of Section 1 of the Sherman Act. MasterCard’s fixing of interchange fees and its
                   8
                       adoption of the Competitive Restraints, as alleged above, constitute horizontal agreements among
                   9
                       MasterCard and its affiliates both prior to and after MasterCard’s reorganization and IPO.
              10
                       MasterCard has served and continues to serve as the ringleader of a cartel that fixes prices and
              11
                       otherwise limits competition among the MasterCard bank affiliates of the combination through
              12
                       the agreed-upon rules governing the credit cards. Accordingly, by these arrangements,
              13
                       MasterCard has facilitated and continues to facilitate a horizontal agreement among its affiliates
              14
                       and itself. Absent this agreement, the affiliates would compete in the market for General Purpose
              15
                       Credit Card Network Services.
              16
                              199.    Additionally, MasterCard’s rules and related contracts entered into before the
              17
                       MasterCard IPO constituted a conspiracy or conspiracies to eliminate competition and fix prices
              18
                       from which MasterCard and its affiliate banks have never withdrawn. In changing its corporate
              19
                       form at the time of the IPO, MasterCard did not take any affirmative action to end the conspiracy
              20
                       or its existing anticompetitive arrangements, either by communicating to its affiliates a decision
              21
                       to withdraw from the rules and agreements with its affiliates or by taking any other steps to
              22
                       effectuate withdrawal from the rules and agreements. Nor did its affiliates take any steps to
              23
                       withdraw from the rules and agreements or take any other steps to effectuate withdrawal from the
              24
                       rules and agreements.
              25
                              200.    Each conspiracy increased and maintained the interchange fees that Plaintiffs and
              26
                       other merchants paid for MasterCard General Purpose Credit Card transactions, and it imposed
              27
                       additional damages in the form of network fees, fines, losses from fraud. These price increases
              28
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& M ORING LLP                                                                           COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1   were the products of the agreement among MasterCard and its affiliate banks that the banks will
                   2   not compete in the market for General Purpose Credit Card Network Services.
                   3          201.    MasterCard has further engaged in unreasonable horizontal restraints in the market
                   4   for General Purpose Credit Card Network Services before and during the forced industry
                   5   migration to EMV technology by imposing its own inferior and fraud-prone offerings such as
                   6   magnetic strip technology and signature-based authorization instead of the more secure chip-and-
                   7   PIN verification. MasterCard’s anticompetitive conduct has had the purpose and effect increasing
                   8   fraud and supracompetitive interchange fees.
                   9          202.      The price-fixing conspiracy and related agreements not to compete are per se
              10       unlawful under Section 1 of the Sherman Act.3
              11              203.    Even in the event that each price-fixing conspiracy and related agreements not
              12       presumed to be unreasonably anticompetitive and hence per se unlawful,, they were still
              13       unreasonable restraints of trade in violation of Section 1 of the Sherman Act. As alleged above,
              14       MasterCard and its affiliates have market power in the market for General Purpose Credit Card
              15       Network Services and have exercised that market power with anticompetitive effects. Further,
              16       the alleged scheme served no legitimate business purpose, and achieved no legitimate efficiency
              17       benefit to eliminate its substantial anticompetitive effects.
              18              204.    Plaintiffs suffered antitrust injury from these unlawful restraints of trade.
              19              205.    As a direct and proximate result of these violations of Section 1 of the Sherman
              20       Act throughout the damages period, Plaintiffs have been injured in their business and property in
              21       an amount to be determined at trial.
              22       ///
              23       ///
              24       ///
              25       ///
              26              3
                                This is true whether or not the relevant market is defined as a market that encompasses
              27       both the issuance of General Purpose Credit Cards to cardholders and the provision of credit card
                       network services for merchants because competitive harm is presumed.
              28
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& M ORING LLP                                                                             COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1                                     THIRD CLAIM FOR RELIEF
                   2   Visa’s Unlawful Horizontal Price Fixing in the Market for Debit Card Network Services in
                                              Violation of Section 1 of the Sherman Act
                   3
                                                                   (Against Visa)
                   4
                              206.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   5
                       through 205 as if fully rewritten herein.
                   6
                              207.    Visa and its affiliate banks are engaged in concerted action within the meaning of
                   7
                       Section 1 of the Sherman Act. Visa’s Competitive Restraints, as alleged above, constitute
                   8
                       horizontal agreements among Visa and its affiliates both prior to and after Visa’s reorganization
                   9
                       and IPO. Visa has served and continues to serve as the ringleader of a cartel that fixes prices and
              10
                       otherwise limits competition among the Visa bank affiliates of the combination through the
              11
                       agreed-upon rules governing the debit cards. Accordingly, by these arrangements, Visa has
              12
                       facilitated and continues to facilitate a horizontal agreement among its affiliates and itself.
              13
                       Absent this agreement, the affiliates would compete in the market for General Purpose Debit Card
              14
                       Network Services.
              15
                              208.    Additionally, Visa’s rules and related contracts entered into before the Visa IPO
              16
                       constituted a conspiracy or conspiracies to eliminate competition and fix prices from which Visa
              17
                       and its affiliate banks have never withdrawn. In changing its corporate form at the time of the
              18
                       IPO, Visa did not take any affirmative action to end the conspiracy or its existing anticompetitive
              19
                       arrangements, either by communicating to its affiliates a decision to withdraw from the rules and
              20
                       agreements with its affiliates or by taking any other steps to effectuate withdrawal from the rules
              21
                       and agreements. Nor did its affiliates take any steps to withdraw from the rules and agreements
              22
                       or take any other steps to effectuate withdrawal from the rules and agreements.
              23
                              209.    Each conspiracy increased and maintained the interchange fees that Plaintiffs and
              24
                       other merchants paid for Visa General Purpose Debit Card transactions, and it imposed additional
              25
                       damages in the form of network fees, fines, and losses from fraud. These price increases were the
              26
                       products of the agreement among Visa and its affiliate banks that the banks will not compete in
              27
                       the market for General Purpose Debit Card Network Services.
              28
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& M ORING LLP                                                                             COMPLAINT; DEMAND FOR JURY TRIAL;
ATTORNEYS AT LAW
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                   1          210.    Visa has further engaged in unreasonable horizontal restraints in the market for
                   2   General Purpose Debit Card Network Services before and during the forced industry migration to
                   3   EMV technology by imposing its own inferior and fraud-prone offerings such as magnetic strip
                   4   technology and signature-based authorization instead of the more secure chip-and-PIN
                   5   verification. Visa also entered into exclusive agreements with issuing banks, imposed the FANF
                   6   on merchants, and entered into reciprocal cross-licensing agreements and agreements not to
                   7   compete with MasterCard. Visa’s anticompetitive conduct has had the purpose and effect
                   8   increasing fraud, raising costs, increasing supracompetitive interchange fees, and impeding and
                   9   excluding other providers of General Purpose Debit Card Network Services.
              10              211.    The price-fixing conspiracy and related agreements not to compete are per se
              11       unlawful under Section 1 of the Sherman Act.4
              12              212.    Even in the event that each price-fixing conspiracy and related agreements are not
              13       presumed to be unreasonably anticompetitive and hence per se unlawful,, they were still
              14       unreasonable restraints of trade in violation of Section 1 of the Sherman Act. As alleged above,
              15       Visa and its affiliates have market power in the market for General Purpose Debit Card Network
              16       Services and have exercised that market power with anticompetitive effects.
              17              213.    Plaintiffs suffered antitrust injury from these unlawful restraints of trade.
              18              214.    As a direct and proximate result of these violations of Section 1 of the Sherman
              19       Act throughout the damages period, Plaintiffs have been injured in their business and property in
              20       an amount to be determined at trial.
              21       ///
              22       ///
              23       ///
              24       ///
              25       ///
              26              4
                                This is true whether or not the relevant market is defined as a market that encompasses
              27       both the issuance of General Purpose Debit Cards to cardholders and the provision of debit card
                       network services for merchants because competitive harm is presumed.
              28
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& M ORING LLP                                                                             COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1                                   FOURTH CLAIM FOR RELIEF
                   2     MasterCard’s Unlawful Horizontal Price Fixing in the Market for Debit Card Network
                                        Services in Violation of Section 1 of the Sherman Act
                   3
                                                             (Against MasterCard)
                   4
                              215.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   5
                       through 214 as if fully rewritten herein.
                   6
                              216.    MasterCard and its affiliate banks are engaged in concerted action within the
                   7
                       meaning of Section 1 of the Sherman Act. MasterCard’s fixing of interchange fees and its
                   8
                       adoption of the Competitive Restraints, as alleged above, constitute horizontal agreements among
                   9
                       MasterCard and its affiliates both prior to and after MasterCard’s reorganization and IPO.
              10
                       MasterCard has served and continues to serve as the ringleader of a cartel that fixes prices and
              11
                       otherwise limits competition among the MasterCard bank affiliates of the combination through
              12
                       the agreed-upon rules governing the debit cards. Accordingly, by these arrangements,
              13
                       MasterCard has facilitated and continues to facilitate a horizontal agreement among its affiliates
              14
                       and itself. Absent this agreement, the affiliates would compete in the market for General Purpose
              15
                       Debit Card Network Services.
              16
                              217.    Additionally, MasterCard’s rules and related contracts entered into before the
              17
                       MasterCard IPO constituted a conspiracy or conspiracies to eliminate competition and fix prices
              18
                       from which MasterCard and its affiliate banks have never withdrawn. In changing its corporate
              19
                       form at the time of the IPO, MasterCard did not take any affirmative action to end the conspiracy
              20
                       or its existing anticompetitive arrangements, either by communicating to its affiliates a decision
              21
                       to withdraw from the rules and agreements with its affiliates or by taking any other steps to
              22
                       effectuate withdrawal from the rules and agreements. Nor did its affiliates take any steps to
              23
                       withdraw from the rules and agreements or take any other steps to effectuate withdrawal from the
              24
                       rules and agreements.
              25
                              218.    Each conspiracy increased and maintained the interchange fees that Plaintiffs and
              26
                       other merchants paid for MasterCard General Purpose Debit Card transactions, and it imposed
              27
                       additional damages in the form of network fees, fines, and losses from fraud. These price
              28
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& M ORING LLP                                                                           COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1   increases were the products of the agreement among MasterCard and its affiliate banks that the
                   2   banks will not compete in the market for General Purpose Debit Card Network Services.
                   3          219.    MasterCard has further engaged in unreasonable horizontal restraints in the market
                   4   for General Purpose Debit Card Network Services before and during the forced industry
                   5   migration to EMV technology by imposing its own inferior and fraud-prone offerings such as
                   6   magnetic strip technology and signature-based authorization instead of the more secure chip-and-
                   7   PIN verification. MasterCard also entered into reciprocal cross-licensing agreements and
                   8   agreements not to compete with Visa. MasterCard’s anticompetitive conduct has had the purpose
                   9   and effect increasing fraud, raising costs, increasing supracompetitive interchange fees, and
              10       impeding and excluding other providers of General Purpose Debit Card Network Services.
              11              220.    The price-fixing conspiracy and related agreements not to compete are per se
              12       unlawful under Section 1 of the Sherman Act.5
              13              221.    Even in the event that each price-fixing conspiracy and related agreements are not
              14       presumed to be unreasonably anticompetitive and hence per se unlawful,, they were still
              15       unreasonable restraints of trade in violation of Section 1 of the Sherman Act. As alleged above,
              16       MasterCard and its affiliates have market power in the market for General Purpose Debit Card
              17       Network Services and have exercised that market power with anticompetitive effects. Further, the
              18       alleged scheme served no legitimate business purpose, and achieved no legitimate efficiency
              19       benefit to eliminate its substantial anticompetitive effects.
              20              222.    Plaintiffs suffered antitrust injury from these unlawful restraints of trade.
              21              223.    As a direct and proximate result of these violations of Section 1 of the Sherman
              22       Act throughout the damages period, Plaintiffs have been injured in their business and property in
              23       an amount to be determined at trial.
              24       ///
              25       ///
              26              5
                                This is true whether or not the relevant market is defined as a market that encompasses
              27       both the issuance of General Purpose Debit Cards to cardholders and the provision of debit card
                       network services for merchants because competitive harm is presumed.
              28
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& M ORING LLP                                                                             COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1                                     FIFTH CLAIM FOR RELIEF
                   2     Visa’s Monopolization of the General Purpose Debit Card Network Services Market in
                                              Violation of Section 2 of the Sherman Act
                   3
                                                                   (Against Visa)
                   4
                              224.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   5
                       through 223 as if fully rewritten herein.
                   6
                              225.    Visa possesses monopoly power in the market for General Purpose Debit Card
                   7
                       Network Services, as demonstrated by structural characteristics of the market, including barriers
                   8
                       to entry, its conduct, its market share, and other direct and circumstantial evidence, including
                   9
                       evidence of its actual exercise of that power.
              10
                              226.    Through the anticompetitive acts set forth above, including Visa’s exclusive
              11
                       agreements with issuing banks, imposition of the FANF, and conduct before and during industry
              12
                       migration to EMV technology, including persuading MasterCard to align with its EMV strategy,
              13
                       and given the structural characteristics of the industry which make entry difficult, Visa has
              14
                       unlawfully acquired and is maintaining its monopoly power in the market for General Purpose
              15
                       Debit Card Network Services—not by virtue of any superior products, services, or business
              16
                       acumen.
              17
                              227.    Visa’s conduct has given it power over price and the power to exclude competition
              18
                       in the market for General Purpose Debit Card Network Services. Visa’s anticompetitive conduct
              19
                       has had the purpose and effect of increasing fraud, raising costs, and impeding and excluding
              20
                       other providers of General Purpose Debit Card Network Services.
              21
                              228.    As a direct and proximate result of Visa’s exclusionary conduct, interchange fees
              22
                       and network fees for General Purpose Debit Card Network Services were set at supracompetitive
              23
                       levels and Plaintiffs have suffered injury to their business and property by paying such
              24
                       artificially-inflated, supracompetitive interchange fees and network fees in an amount to be
              25
                       determined at trial. Plaintiffs have suffered antitrust injury from these acts of monopolization.
              26

              27

              28
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& M ORING LLP                                                                            COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1          229.    Visa’s unlawful acquisition of monopoly power constituted a violation of Section
                   2   2 of the Sherman Act. Visa’s unlawful maintenance of monopoly power constitutes a violation of
                   3   Section 2 of the Sherman Act, which is ongoing.
                   4                                     SIXTH CLAIM FOR RELIEF
                   5                              Violations of the California Cartwright Act
                                                   (Cal. Bus. & Prof. Code §§ 16700 et seq.)
                   6
                                            (Against All Defendants, Individually and Collectively)
                   7
                              230.    Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   8
                       through 229 as if fully rewritten herein.
                   9
                              231.    Visa, MasterCard, and their affiliate banks each have market power in the markets
              10
                       for General Purpose Credit Card Network Services and General Purpose Debit Card Network
              11
                       Services.
              12
                              232.    Visa and its affiliate banks—direct, horizontal competitors of each other—have
              13
                       engaged in unlawful contracts, combinations, and conspiracies in an unreasonable restraint of
              14
                       interstate trade or commerce in violation of the Cartwright Act (Cal. Bus. & Prof. Code §§ 16700
              15
                       et seq.). MasterCard and its affiliate banks—direct, horizontal competitors of each other—have
              16
                       engaged in unlawful contracts, combinations, and conspiracies in an unreasonable restraint of
              17
                       interstate trade or commerce in violation of the Cartwright Act. These unlawful contracts,
              18
                       combinations, and conspiracies were entered into and effectuated within the State of California.
              19
                              233.    The unlawful contracts, combinations, and conspiracies consisted of continuing
              20
                       agreements, understandings, and concerts of action between and among Visa’s affiliate banks and
              21
                       Visa and between and among MasterCard’s affiliate banks and MasterCard, the substantial terms
              22
                       of which were to illegally fix, raise, maintain, or stabilize the interchange fees charged to
              23
                       Plaintiffs and other merchants by issuing banks in the markets for General Purpose Credit Card
              24
                       Network Services and General Purpose Debit Card Network Services.
              25
                              234.    Visa’s Board of Directors, which included representatives from several of Visa’s
              26
                       affiliate banks, voted to fix, raise, maintain, or stabilize the interchange fees for Visa transactions,
              27
                       in violation of the Cartwright Act. MasterCard’s Board of Directors, which included
              28
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& M ORING LLP                                                                              COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1   representatives from several of MasterCard affiliate banks, voted to fix, raise, maintain, or
                   2   stabilize the interchange fees for MasterCard transactions, in violation of the Cartwright Act.
                   3           235.   As a direct consequence of the contract, combination, conspiracy, and agreement,
                   4   actual and potential competition in the markets for General Purpose Credit Card Network
                   5   Services and General Purpose Debit Card Network Services, was substantially excluded,
                   6   suppressed, and effectively foreclosed.
                   7           236.   Visa and MasterCard derived direct and substantial economic benefits from the
                   8   supracompetitive interchange fees in the markets for General Purpose Credit Card Network
                   9   Services and General Purpose Debit Card Network Services.
              10               237.   But for the anticompetitive conduct of Visa and its affiliate banks and of
              11       MasterCard and its affiliate banks, competition among banks would have eliminated or greatly
              12       reduced the credit card interchange fees in order to gain business from merchants, including
              13       Plaintiffs.
              14               238.   The collectively fixed credit and debit card interchange fees are illegal. It is not
              15       necessary to accomplish any procompetitive benefit to the Visa or MasterCard network. Visa,
              16       MasterCard, and their affiliate banks’ price fixing achieved few, if any, procompetitive benefits to
              17       counterbalance their demonstrated anticompetitive effects in the markets for General Purpose
              18       Credit Card Network Services and General Purpose Debit Card Network Services. Even if some
              19       horizontal agreement was necessary to promote the efficiencies of the Visa and MasterCard
              20       networks, the collectively-set credit card and debit card interchange fees are significantly more
              21       restrictive than necessary to bring about those efficiencies.
              22               239.   As a direct and proximate consequence of Visa and MasterCard’s anticompetitive
              23       conduct, Plaintiffs have suffered injury in its business and property, in an amount to be
              24       determined at trial, by having to pay such artificially inflated, supracompetitive interchange fees.
              25       Plaintiffs’ injury is the type of injury the Cartwright Act and the other antitrust laws were
              26       designed to prevent and flows from that which makes Visa, MasterCard, and their affiliate banks’
              27       conduct unlawful.
              28       ///
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& M ORING LLP                                                                             COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1                                    SEVENTH CLAIM FOR RELIEF
                   2                           Violations of the California Unfair Competition Law
                                                     (Cal. Bus. & Prof. Code §§ 17200 et seq.)
                   3
                                             (Against All Defendants, Individually and Collectively)
                   4
                              240.       Plaintiffs incorporate by reference the allegations contained in paragraphs 1
                   5
                       through 239 as if fully rewritten herein.
                   6
                              241.       Visa, MasterCard, and their affiliate banks each have engaged in unlawful, unfair
                   7
                       or fraudulent business conduct alleged herein, entered into and/or effectuated within the State of
                   8
                       California, in violation of California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
                   9
                       §§ 17200 et seq.
              10
                              242.       Defendants’ conduct alleged above violates, inter alia, Sections 1 and/or 2 of the
              11
                       Sherman Act, Section 4 of the Clayton Act, and the Cartwright Act (Cal. Bus. & Prof. Code §§
              12
                       16700 et seq.) and thus constitutes unlawful conduct under the UCL as well. The conduct
              13
                       violates California’s policy of fostering and encouraging competition by prohibiting unfair,
              14
                       dishonest, deceptive, destructive, fraudulent and discriminatory practices by which fair and
              15
                       honest competition is destroyed or prevented. The acts and practices alleged herein violate the
              16
                       competitive policies underlying the Cartwright Act and have an actual and threatened adverse
              17
                       effect on competition.
              18
                              243.       Defendants’ business conduct is also unfair under the UCL because it threatens at
              19
                       least incipient violations of the antitrust laws or violates the policy or spirit of one of those laws
              20
                       with effects comparable to a violation of such laws or otherwise significantly threatens or harms
              21
                       competition. Defendants’ complained-of conduct is immoral, unethical, oppressive, unscrupulous
              22
                       or substantially injurious to merchants, including Plaintiffs, and to consumers who ultimately bear
              23
                       higher costs resulting from Defendants’ anticompetitive and unfair business acts and practices
              24
                       alleged herein.
              25
                              244.       Defendants’ business conduct was also fraudulent under the meaning of the UCL
              26
                       in that it was deceptive. Defendants claimed that interchange fees were only non-binding, but in
              27
                       practice, these default rates constitute a de facto agreement among competing banks to use those
              28
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& M ORING LLP                                                                              COMPLAINT; DEMAND FOR JURY TRIAL;
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                   1   rates as binding and uniform supracompetitive interchange fees. Defendants have also acted to
                   2   force merchants and consumers to accept and use technologically-inferior products that they
                   3   knew would increase fraud. Defendants presented their own EMV technologies as complete
                   4   solutions and simultaneously shifted fraud liability onto merchants even though this technology
                   5   was less secure.
                   6           245.   As a direct consequence of the contract, combination, conspiracy, and agreement,
                   7   actual and potential competition in the markets for General Purpose Credit Card Network
                   8   Services and General Purpose Debit Card Network Services, was substantially excluded,
                   9   suppressed, and effectively foreclosed.
              10               246.   Visa and MasterCard derived direct and substantial economic benefits from the
              11       supracompetitive interchange fees in the markets for General Purpose Credit Card Network
              12       Services and General Purpose Debit Card Network Services.
              13               247.   But for the anticompetitive conduct of Visa and its affiliate banks and of
              14       MasterCard and its affiliate banks, competition among banks would have eliminated or greatly
              15       reduced the credit card interchange fees in order to gain business from merchants, including
              16       Plaintiffs.
              17               248.   The collectively fixed credit and debit card interchange fees are illegal. It is not
              18       necessary to accomplish any procompetitive benefit to the Visa or MasterCard network. Visa,
              19       MasterCard, and their affiliate banks’ price fixing achieved few, if any, procompetitive benefits to
              20       counterbalance their demonstrated anticompetitive effects in the markets for General Purpose
              21       Credit Card Network Services and General Purpose Debit Card Network Services. Even if some
              22       horizontal agreement was necessary to promote the efficiencies of the Visa and MasterCard
              23       networks, the collectively-set credit card and debit card interchange fees are significantly more
              24       restrictive than necessary to bring about those efficiencies.
              25               249.   As a direct and proximate consequence of Visa and MasterCard’s anticompetitive
              26       conduct, Plaintiffs have suffered injury in its business and property, in an amount to be
              27       determined at trial, by having to pay such artificially inflated, supracompetitive interchange fees.
              28       Plaintiffs’ injury is the type of injury the Cartwright Act and the other antitrust laws were
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                   1   designed to prevent and flows from that which makes Visa, MasterCard, and their affiliate banks’
                   2   conduct unlawful.
                   3                                         PRAYER FOR RELIEF
                   4            WHEREFORE, Plaintiffs pray for relief and judgment as follows:
                   5            1.      Judgment in favor of Plaintiffs and against each Defendant, in an amount to be
                   6   determined at trial including, but not limited to, compensatory damages, trebled damages, and
                   7   pre-judgment interest, as permitted by law;
                   8            2.      An injunction ordering Defendants to cease their unlawful anticompetitive
                   9   conduct; void all unlawful agreements, combinations, and conspiracies in restraint of trade; and
              10       refrain from engaging in any other similar conduct or agreements in the future;
              11                3.      An award of the cost of the suit, including reasonable attorneys’ fees; and
              12                4.      Such other and further relief as the Court deems just, equitable, and proper.
              13                                          DEMAND FOR JURY TRIAL
              14                Plaintiffs demand a trial by jury of all issues properly triable thereby.
              15

              16       Dated:        July 19, 2019                  Respectfully Submitted,
              17                                                    CROWELL & MORING LLP
              18

              19                                                    /s/ Daniel A. Sasse
              20                                                    Daniel A. Sasse
                                                                    Deborah E. Arbabi
              21                                                    John S. Gibson
                                                                    Jordan L. Ludwig
              22
                                                                    Attorneys for All Plaintiffs
              23

              24

              25

              26

              27

              28
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& M ORING LLP                                                                               COMPLAINT; DEMAND FOR JURY TRIAL;
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